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                     EXHIBIT B
                   CSX                      Exhibit List
                      Including NS/NPBL Objections
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                               Exhibit B - CSX Amended Exhibit List



 Ex. No.   Description                                                 Bates Begin    Bates End      Dep. Exhibit or Alt. Reference   NSR Objections                      NPBL Additional Objections
                                                                                                     CSXT0000767-774
                                                                                                     NPBL000028-31
                                                                                                     NPBL008772-8820
                                                                                                     CSXT0086338-86345
                                                                                                     Hall Depo.
                                                                                                     NPBL 30(b)(6)/Moss Depo.
                                                                                                     Summy Depo.
                                                                                                     J. Booth Depo.
                                                                                                     CSXT 30(b)(6) Depo.
                                                                                                     Swafford Depo.
                                                                                                     Eliasson Depo.
                                                                                                     Ingram Depo.
                                                                                                     Armbrust Depo. 1
  P001     1897.07.07 Operating Agreement                              ECF No. 1-1                   M. Burns Depo. 1
           1961.01.01 Map - Norfolk & Portsmouth Belt Line Railroad
  P002     and Connections                                             ECF No. 1-2                   J. Booth Depo.
                                                                                                     CSXT0000757-760
                                                                                                     NPBL010366-10367
                                                                                                     CSXT0086318-86319
                                                                                                     CSXT 30(b)(6) Depo.
                                                                                                     Armbrust Depo. 1
  P003     1989.03.01 Supplemental Agreement                           ECF No. 1-3                   NPBL 30(b)(6)/Moss Depo.
                                                                                                     CSXT0000761-766
                                                                                                     CSXT086332-337
                                                                                                     Hall Depo. Ex. 3
                                                                                                     Armbrust Depo. 1
  P004     1996.04.10 By-Laws of the NPBL                              ECF No. 1-4                   NPBL 30(b)(6)/Moss Depo.
                                                                                                     NPBL006243-56
                                                                                                     CSXT0101884-1890
                                                                                                     CSXT0100329-100342
                                                                                                     CSXT0120464-120498
                                                                                                     CSXT0139903-139916
                                                                                                     CSXT 30(b)(6) Depo.
                                                                                                     Coleman Depo.
                                                                                                     Hall Depo.
                                                                                                     Hurlbut Depo.
                                                                                                     Merilli Depo.
                                                                                                     NPBL 30(b)(6)/Moss Depo.
                                                                                                     Summy Depo.
                                                                                                     Armbrust Depo. 1
           2018.03.23 T. DiDeo Letter to C. Moss and D. Coleman Re                                   Armbrust Depo. 2
           Rate Proposal for Long Term Rail Service to NIT enclosing                                 M. Burns Depo. 1
  P005     7/19/10 J. Booth Letter to D. Stinson and D. Coleman        ECF No. 1-5                   Swafford Depo.                   802 - Hearsay
                                                                                                     CSXT0000730-737
                                                                                                     CSXT0006383-6390
                                                                                                     CSXT0100552-559
                                                                                                     Hall Depo.
                                                                                                     Hurlbut Depo.
           2018.04.06 Letter from CSX to Norfolk & Portsmouth Belt                                   Merilli Depo.
           Line Railroad Company & Norfolk Southern Railway re                                       NPBL 30(b)(6)/Moss Depo.
           Demand that the NBPL Board and Norfolk Southern Railway                                   Summy Depo.
           Take Remedial Actions at April 2018 Meetings of the Board                                 Armbrust Depo. 1
  P006     and the NPBL Shareholders                                   ECF No. 1-6                   M. Burns Depo. 1                 802 - Hearsay
  P007     1917.07.26 Agreement                                        CSXT0000669    CSXT0000685    NSR 30(b)(6) Hunt                802 - Hearsay
  P008     1917.07.27 Agreement                                        NPBL000032     NPBL000047     NSR 30(b)(6) Hunt
  P009     1985.12.31 Interchange Agreement                            CSXT0094704    CSXT0094737    Kendall Depo.                    802 - Hearsay

           1998 Martinez Memo to L. Prillaman an T. Finkbiner          NSR_00104455
           1998.11.14 Martinez Memo to L. Prillaman and R. Finkbiner   NSR_00104456
           1998.11.13 Martinez Memo to L. Prillaman                    NSR_00104457
           1998.11.13 Martinez Memo to L Prillaman                     NSR_00104458   NSR_00104459                                                                      NPBL MIL #1; NS MIL (D.E. 337);
  P010     1998.11.12 Message                                          NSR_00104460                                                   Improper Compilation              Relevance (Fed. R. Evid. 401 and/or 402)
                                                                                                                                      401, 402, & 403  not relevant
                                                                                                                                      to show conspiracy & unfairly
           1999.03.24 J. Donnelly letter to Members, NPBL Rate                                                                        prejudicial; 401, 402, & 403 
           Structure Committee, Draft letter to R. Johnson from B.                                                                    SJ Statute of Limitations; 602 --
  P011     Belvin, 3/24/99 Fax Cover sheet with handwritten notes      NSR_00199538   NSR_00199541   Martinez Depo.                   Foundation; 802 -- Hearsay
                                                                                                                                      401, 402, & 403  Relevance;
                                                                                                                                      401, 402, & 403  not relevant
                                                                                                                                      to show conspiracy & unfairly
           1999.03.29 Email from Richard Johnson to Multiple                                                                          prejudicial; 401, 402, & 403 
  P012     Recipients Re NPBL Rates                                    NSR_00199532   NSR_00199532                                    SJ Statute of Limitations
                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  MIL Internal
                                                                                                                                      Emails; 401, 402, & 403  not
                                                                                                                                      relevant to show conspiracy &
                                                                                                                                      unfairly prejudicial; 401, 402, &
                                                                                                                                      403  SJ Statute of Limitations;
                                                                                                                                      602 - Foundation; 901 -
  P013     1999.04.01 Message Re NPBL Rates                            NSR 00306368                  McClellan Depo. 3                Authentication

                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  MIL Internal
                                                                                                                                      Emails; 401, 402, & 403  not
                                                                                                                                      relevant to show conspiracy &
                                                                                                                                      unfairly prejudicial; 401, 402, &
                                                                                                                                      403  SJ Statute of Limitations;
           1999.06.29 Email Chain Re CSXT NIT with handwritten                                                                        602 - Foundation; 802 -
  P014     notes                                                       NSR 00306367                  McClellan Depo. 3                Hearsay 901 - Authentication
                                                                                                                                      401, 402, & 403  not relevant
                                                                                                                                      to show conspiracy & unfairly
                                                                                                                                      prejudicial; 401, 402, & 403 
                                                                                                                                      SJ Statute of Limitations; 602 -
           1999.07.19 J. Donnelly letter to Members, NPBL Rate                                                                        Foundation; 802 - Hearsay; 901 -
  P015     Structure Committee with handwritten notes                  NSR 00199530   NSR 00199531   Martinez Depo.                   Authentication
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                                                                                                                               401, 402, & 403  not relevant
                                                                                                                               to show conspiracy & unfairly
                                                                                                                               prejudicial; 401, 402, & 403 
         1999.07.19 J. Donnelly letter to Members, NPBL Rate                                                                   SJ Statute of Limitations; 602 --
         Structure Committee with handwritten notes enclosing 7/16/99                                                          Foundation; 802 -- Hearsay; 901
  P016   J. Tilley letter to J. Donnelly                              NSR 00199542   NSR 00199543   Martinez Depo.             - Authentication
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  not relevant to
                                                                                                                               show conspiracy & unfairly
         1999.08.25 Letter from Norfolk and Portsmouth Belt Line                                                               prejudicial; 401, 402, & 403 
         Railroad Company to Norfolk and Portsmouth Belt Line                                                                  SJ Statute of Limitations; 802 -
  P017   Railroad Company Board of Directors with Handwritten Notes NSR_00199524     NSR_00199526                              Hearsay

                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
         2002.09.26 Email Chain Re NPBL - Rate Structure                                            Luebbers Depo. 2           unfairly prejudicial; 401, 402, &
  P018   Committee Recommendations (NS Portion)                       NSR_00306424   NSR_00306425   McClellan Depo. 3          403  SJ Statute of Limitations
         2002.12.27 Letter from T. L. Hobbs (Director-Administration,
         Norfolk and Portsmouth Belt Line Railroad Company) to
         Appropriate NPBL Personnel Connecting Railroads Industries                                                            401 or 402 - Relevance; 401,
         Enclosing Copies of 2/1/2003 Tariff NPB 8100-F (Canceling                                                             402, & 403  SJ Statute of
  P019   NPB 8100-E)                                                  NSR_00306377   NSR_00306382                              Limitations; 602 - Foundation
                                                                                                                               401 or 402 - Relevance; 401,
         2005.12.19 05, Norfolk Southern Presentation, Norfolk                                                                402, & 403  SJ Statute of
  P020   Southern Ports and International Department              NPBL001650        NPBL001676                                Limitations; 602 - Foundation
                                                                                                                               401, 402, & 403  SJ Statute of
  P021   2006.10.24 Email Re NPBL Rate Meeting                     NSR_00306426      NSR_00306427   Luebbers Depo. 2           Limitations
                                                                                                                               401, 402, & 403  SJ Statute of
  P022   2007.01.21 Email Chain Re VIP train                       NSR_00001571      NSR_00001572   C. Booth Depo.             Limitations
                                                                                                                               401, 402, & 403  SJ Statute of
  P023   2008.01.01 Supplemental Agreement                         NPBL003878        NPBL003898     NPBL 30(b)(6)/Moss Depo.   Limitations

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 401, 402, &
  P024   2008.04.02 Email Chain Re NPBL Port Norfolk Yard          NSR_00084773      NSR_00084774                              403  SJ Statute of Limitations
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
  P025   2009.01.30 Email Chain FW new rail plan by NS             NSR_00012408      NSR_00012409                              Limitations; 602 - Foundation
                                                                                                                               401, 402, & 403  SJ Statute of
         2009.04.02 Email Chain Re Charleston Slides attaching NS is                                                           Limitations; 401, 402 --
  P026   the Intermodal Partner for Charleston                       NSR_00173402    NSR_00173422   Martinez Depo.             Relevance

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                    Heller Depo. 1             unfairly prejudicial; 401, 402, & NPBL MIL #1; NS MIL (D.E. 337);
  P027   2009.04.17 Email Chain FW NPBL                            NSR_00027114      NSR_00027115   Luebbers Depo. 1           403  SJ Statute of Limitations NPBL MIL #5

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                    Heller Depo. 1             relevant to show conspiracy &
         2009.04.24 Email Chain Re NPBL - Rate Committee                                            Luebbers Depo. 1           unfairly prejudicial; 401, 402, &
  P028   CONFIDENTIAL                                              NSR_00011118      NSR_00011120   NSR 30(b)(6) Hunt          403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  MIL
                                                                                                                               Diamond Track; 401, 402, &
                                                                                                                               403  MIL Reasonable Rate;
                                                                                                                               401, 402, & 403  SJ Statute of
         2009.04.27 Email Chain Re NPBL - Rate Committee                                                                       Limitations; 602 - Foundation;
  P029   CONFIDENTIAL                                              NSR_00011108      NSR_00011111                              802 - Hearsay
                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  MIL
                                                                                                                               Reasonable Rate; 401, 402, &
                                                                                                                               403  not relevant to show
                                                                                                                               conspiracy & unfairly
         2009.05.14 Email from Jeffrey Heller to Jake Allison Re                                                               prejudicial; 401, 402, & 403 
  P030   NPBL - Rate Committee CONFIDENTIAL                        NSR_00084753      NSR_00084755                              SJ Statute of Limitations         NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 401, 402, &
  P031   2009.05.27 Email Chain Re CSX - NIT & APMT                NSR_00001503      NSR_00001504   C. Booth Depo.             403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  SJ Statute of
  P032   2009.06.01 Email Chain Re CSX vs. NS 2008 Port Volumes NSR_00027503         NSR_00027506   Luebbers Depo. 1           Limitations
         2009.06.16 Letter from CSX Transportation to Mr. David                                                                401, 402, & 403  MIL
         Stinson (President & General Manager, Norfolk and                                          Armbrust Depo. 1           Reasonable Rate; 401, 402, &
         Portsmouth Belt Line Railroad Company) Re Response to                                      J. Booth Depo. Ex. 4       403  SJ Statute of Limitations;
  P033   Request for a New Rate Structure                       CSXT0080856          CSXT0080857    Ingram Depo.               802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                    Coleman Depo.              relevant to show conspiracy &
                                                                                                    NPBL 30(b)(6)/Moss Depo.   unfairly prejudicial; 401, 402, &
  P034   2009.06.19 Email Chain Re NPBL - CSX                      NSR_00027096                     Stinson Depo.              403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  SJ Statute of
  P035   2009.06.19 Email Re CSX and NIT                           NSR_00027097                     Luebbers Depo. 1           Limitations
                                                                                                                               106 - Completeness; 401, 402,
                                                                                                                               & 403  not relevant to show
                                                                                                                               conspiracy & unfairly
                                                                                                                               prejudicial; 401, 402, & 403 
         2009.06.20 Email Chain FW The Port of Virginia - New On-                                                              SJ Statute of Limitations; 602 -
  P036   Dock Rail at NIT - Correction                            CSXT0024925        CSXT0024926                               Foundation 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 401, 402, &
  P037   2009.06.23 Email Re NPBL Information                      NSR 00084730                     Luebbers Depo. 1           403  SJ Statute of Limitations NPBL MIL #1 NS MIL (D.E. 337)
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                                                                                                    NSR_00084676-85
                                                                                                    NPBL015022-71              401, 402, & 403  not relevant
                                                                                                    Coleman Depo.              to show conspiracy & unfairly
                                                                                                    Stinson Depo.              prejudicial; 401, 402, & 403 
         2009.07.16 Email Chain Re Rate Committee Packet attaching                                  J. Booth Depo. Ex. 9       SJ Statute of Limitations; 802 -
  P038   information packet for the rate committee meeting         NPBL008771        NPBL008820     Allan Depo. Ex. 6          Hearsay

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
         2009.07.27 Draft M. McClellan letter to M. Manion Re CSXT                                                             unfairly prejudicial; 401, 402, &
         Incursion in to Hampton Roads through the NPBL (with                                                                  403  SJ Statute of Limitations;
  P039   Metadata slip sheet)                                      NSR_00306359      NSR_00306360   Luebbers Depo. 2           602 - Foundation

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 401, 402, &
         2009.07.27 Email Re MRM Letter to Manion NPBL                                              Luebbers Depo. 2           403  SJ Statute of Limitations;
  P040   24Jul09.doc with attachment                                  NSR_00305952   NSR_00305954   McClellan Depo. 3          602 - Foundation

         2009.07.29 NS Internal Meeting Notes - NPBL Rate                                                                      401, 402, & 403  SJ Statute of
  P041   Committee Meeting with handwritten notes                     NSR_00306373   NSR_00306376   McClellan Depo. 3          Limitations -- 602-Foundation
                                                                                                                               106 - Completeness; 401, 402,
                                                                                                                               & 403  MIL Internal Emails;
         2009.07.31 Email from Chris Luebbers to Liesl McLemore,                                                               401, 402, & 403  not relevant
         Gregg Cronk, & Thomas Hibben Re Rate Committee Follow                                      Heller Depo. 1             to show conspiracy & unfairly
         Up with Attachment 'NPBL Rate Committee Mtg 7-29-09                                        Luebbers Depo. 1           prejudicial; 401, 402, & 403 
  P042   v4.doc' [NS Internal Meeting Notes Dated 7/29/2009]     NSR_00027070        NSR_00027075   NSR 30(b)(6) Hunt          SJ Statute of Limitations       NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  not relevant
                                                                                                                               to show conspiracy & unfairly
                                                                                                                               prejudicial; 401, 402, & 403 
  P043   2009.08.03 Email Re Easy Questions                           NSR_00027069                  Luebbers Depo. 1           SJ Statute of Limitations
                                                                                                    Allan Depo.                106 - Completeness; 401, 402,
                                                                                                    J. Booth Depo.             & 403  SJ Statute of
  P044   2009.08.06 Email Chain FW rate committee question            CSXT0025121                   CSXT 30(b)(6) Depo.        Limitations; 802 - Hearsay
                                                                                                    Allan Depo.
         2009.08.06 Email Chain FW rate committee question                                          J. Booth Depo.             401, 402, & 403  SJ Statute of
  P045   attachment - 2009.01 - 06 - Load Analysis                    CSXT0025122                   CSXT 30(b)(6) Depo.        Limitations; 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                    Coleman Depo.              Emails; 401, 402, & 403  not
                                                                                                    Luebbers Depo. 1           relevant to show conspiracy &
         2009.09.24 NPBL Rate Committee Meeting Recap for NS                                        NPBL 30(b)(6)/Moss Depo.   unfairly prejudicial; 401, 402, &
  P046   Participants only                                            NSR_00035903   NSR_00035906   Stinson Depo.              403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  MIL
                                                                                                    NPBL007140-42              Reasonable Rate; 401, 402, &
                                                                                                    NS00008025                 403  not relevant to show
                                                                                                    Allan Depo.                conspiracy & unfairly
                                                                                                    Coleman Depo.              prejudicial; 401, 402, & 403 
         2009.10.15 J. Booth Letter to D. Stinson and D. Coleman Re                                 Stinson Depo.              SJ Statute of Limitations; 403 -
  P047   Recommendation of CSXT Rate Committee Representatives        CSXT0082145    CSXT0082147    J. Booth Depo.             Cumulative 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
         2009.12.01 Email Chain Fw NPBL proposed sale to Virginia                                                              relevant to show conspiracy &
         Port Authority; NSR Operating Agreement Indemnity                                                                     unfairly prejudicial; 401, 402, &
  P048   Language                                                 NSR 00183720       NSR 00183721   Coleman Depo.              403  SJ Statute of Limitations NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  not relevant
                                                                                                    NPBL017882-84              to show conspiracy & unfairly
                                                                                                    Ingram Depo.               prejudicial; 401, 402, & 403 
                                                                                                    Summy Depo.                SJ Statute of Limitations; 403 -
  P049   2009.12.15 Minutes of the Board of Directors meeting         NPBL007302     NPBL007323     Allan Depo.                Cumulative

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 401, 402, &
  P050   2010.01.07 Email Chain Re NPBL                               NSR_00027017   NSR_00027018   Stinson Depo.              403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                    Heller Depo. 1             401, 402, & 403  SJ Statute of
  P051   2010.03.04 Email Chain Re CSX at Norfolk                     NSR 00172581   NSR 00172582   McClellan Depo.2           Limitations 802 - Hearsay
                                                                                                                               401, 402, & 403  SJ Statute of
  P052   2010.04.15 Email Chain Re NPBL/VIT Operations Meeting        CSXT0025580                   MacDonald Depo.            Limitations; 802 - Hearsay
         2010.05.27 Email Re Please Evaluate attaching 5/10/20                                                                 401, 402, & 403  SJ Statute of
  P053   Operation Plan                                               NSR_00015155   NSR_00015159   C. Booth Depo.             Limitations

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                    Heller Depo. 1             unfairly prejudicial; 401, 402, &
                                                                                                    Stinson Depo.              403  SJ Statute of Limitations;
  P054   2010.07.07 Email Chain Re CSX forecast model                 NSR_00062929                  Summy Depo.                802 - Hearsay                     NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  not relevant
                                                                                                                               to show conspiracy & unfairly
         2010.07.07 Email Chain Re CSX forecast model [attachment                                   J. Booth Depo.             prejudicial; 401, 402, & 403 
  P055   Modelv50adj.xls]                                         NSR 00074005       NSR 00074006   Coleman Depo.              SJ Statute of Limitations
                                                                                                                               401, 402, & 403  MIL
                                                                                                    CSXT0000686-692            Reasonable Rate; 401, 402, &
         2010.07.19 J. Booth Letter to Stinson and D. Coleman Re Rail                               NPBL000200-206             403  SJ Statute of Limitations;
         Service Connection to NIT - Rate Proposal and                                              Allan Depo. Ex. 13         403 - Cumulative; 602 -
  P056   Operating/Financial Plan                                     CSXT0083723    CSXT0083729    MacDonald Depo.            Foundation; 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                    Heller Depo. 1             relevant to show conspiracy &
                                                                                                    Luebbers Depo. 1           unfairly prejudicial; 401, 402, &
  P057   2010.07.21 Email Chain Re They hate Palin here            . NSR_00026968                   Stinson Depo.              403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
         2010.07.23 Email Re Rail Service Connection to NIT - Rate                                  Eliasson Depo. Ex. 12
         Proposal and Operating Plan attaching 7/23/10 J. Booth Letter                              Allan Depo. Ex. 15         401, 402, & 403  SJ Statute of
  P058   to D. Stinson and D. Coleman                                  NPBL007430    NPBL007436     Armbrust Depo. 1           Limitations
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                                                                                                                            401, 402, & 403  not relevant
                                                                                                    CSXT0083748-49          to show conspiracy & unfairly
                                                                                                    J. Booth Depo.          prejudicial; 401, 402, & 403 
         2010.08.05 D. Stinson letter Re Rail Service Connection to                                 Coleman Depo.           SJ Statute of Limitations; 403 -
  P059   NIT _ CSXT Rate Proposal dated July 23, 2010                 NPBL007438     NPBL007439     Stinson Depo.           Cumulative
         2010.08.30 Email Chain Re QM Junction trackage                                                                     401, 402, & 403  SJ Statute of
  P060   improvements                                                 NSR 00011094   NSR 00011095   Luebbers Depo. 1        Limitations

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                                            relevant to show conspiracy &
         2010.09.08 Norfolk and Portsmouth Belt Line Railroad                                                               unfairly prejudicial; 401, 402, &
         Company Board of Directors Meeting Minutes with                                            Summy Depo.             403  SJ Statute of Limitations;
  P061   Handwritten Notes                                            NSR_00000781   NSR_00000822   Wheeler Depo.           602 Foundation                    NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                            401, 402, & 403  SJ Statute of
  P062   2010.09.08 NPBL Minutes of the Board of Directors            CSXT0000299                                           Limitations
         2010.09.17 Email Re Minutes attaching 9/8/10 Minutes of the                                Eliasson Depo. Ex       401, 402, & 403  SJ Statute of
  P063   Board of Directors Meeting                                   NPBL007466     NPBL007467     Summy Depo.             Limitations
         2010.09.21 Email Chain FW Norfolk, VA - Proposed track
         changes at QM Junction - Sewells Point Branch // Request for                                                       401, 402, & 403  SJ Statute of
  P064   Dept Cost Involvement (NIT)                                  NSR_00001786   NSR_00001792   C. Booth Depo.          Limitations
                                                                                                                            401, 402, & 403  not relevant
                                                                                                                            to show conspiracy & unfairly
         2010.12.08 Email Chain Re NPB (CSX) Intermodal Service to                                  Stinson Depo.           prejudicial; 401, 402, & 403 
  P065   NIT                                                       NPBL012305        NPBL012306     Wheeler Depo.           SJ Statute of Limitations
                                                                                                                            401, 402, & 403  MIL
                                                                                                    CSXT0085623-26          Reasonable Rate; 401, 402, &
                                                                                                    CSXT0085585-88          403  SJ Statute of Limitations;
         2010.12.27 CSXT Memorandum Re NPBL Management                                              Coleman Depo.           403 - Unfairly Prejudicial; 802 -
  P066   Response to CSXT Rate Proposal                               NSR_00000720   NSR_00000723   Stinson Depo.           Hearsay
         2010.12.27 Email Re Memorandum for 12-29-10 Board
         Meeting attaching 12/27/10 CSXT Memorandum Re NPBL                                         Eliasson Depo.          401, 402, & 403  SJ Statute of
  P067   Management Response to CSXT Rate Proposal                    NPBL012283     NPBL012287     Armbrust Depo. 1        Limitations; 802 - Hearsay

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                                            relevant to show conspiracy &
                                                                                                                            unfairly prejudicial; 401, 402, &
                                                                                                    McClellan Depo. 1       403  SJ Statute of Limitations;
  P068   2011.02.01 Email Chain Re Port Norfolk Property offer        NSR 00073008   NSR 00073011   Stinson Depo.           802 - Hearsay 602 - Foundation NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                    CSXT0126579
                                                                                                    CSXT0126591-92
                                                                                                    MacDonald Depo.
                                                                                                    C. Booth Depo.
                                                                                                    Coleman Depo.           401, 402, & 403  not relevant
                                                                                                    Eliasson Depo.          to show conspiracy & unfairly
                                                                                                    Stinson Depo.           prejudicial; 401, 402, & 403 
  P069   2011.03.01 J. Yates Letter to D. Stinson                     NPBL012988     NPBL012989     Wheeler Depo.           SJ Statute of Limitations
                                                                                                                            401 or 402 - Relevance; 401,
         2011.03.14 Norfolk Southern Presentation, A Little Bit About                                                      402, & 403  SJ Statute of
  P070   a Lot of Things                                              NPBL003287    NPBL003342                             Limitations; 602 - Foundation
                                                                                                                            401, 402, & 403  not relevant
                                                                                                                            to show conspiracy & unfairly
                                                                                                                            prejudicial; 401, 402, & 403 
         2011.04.12 Email from Jake Allison to Donna Coleman Re                                                             SJ Statute of Limitations; 602 -
  P071   Agenda for Board of Directors Meeting                        CSXT0110423    CSXT0110424                            Foundation
                                                                                                                            401, 402, & 403  SJ Statute of
  P072   2011.04.13 NPBL Agenda                                       CSXT0000512    CSXT0000569                            Limitations
         2011.04.18 Email Re Minutes attaching 4/13/11 Minutes of                                                           401, 402, & 403  SJ Statute of
  P073   the Board of Directors Meeting                               NPBL007673     NPBL007677     Eliasson Depo. Ex. 23   Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
  P074   2011.09.14 Email Chain Re Meeting September 30               NSR_00030760                  Martinez Depo.          Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
         2011.09.14 Email from Quintin Kendall to Steven Armbrust                                                           Limitations; 602 - Foundation;
  P075   Re NPBL - NS Response to MacDonald Nomination            CSXT0127526        CSXT0127529                            802 - Hearsay
         2011.09.16 Memorandum and Resolution to NS Board                                                                   401 or 402 - Relevance; 401,
         Members of NPBL Re Selection Process for NPBL President                                                            402, & 403  SJ Statute of
  P076   & General Manager                                        CSXT0027044        CSXT0027046                            Limitations 802 - Hearsay
         2011.09.19 Norfolk and Portsmouth Belt Line Railroad                                                               401, 402, & 403  SJ Statute of
  P077   Company Board of Directors Meeting Minutes               CSXT0000508                                               Limitations
                                                                                                                            401 or 402 - Relevance; 401,
         2011.09.23 Norfolk and Portsmouth Belt Line Railroad                                                               402, & 403  SJ Statute of
  P078   Company Board of Directors Meeting Minutes                   CSXT0000509    CSXT0000511                            Limitations
                                                                                                    Heller Depo. 1
                                                                                                    Martinez Depo.
                                                                                                    McClellan Depo. 1       401, 402, & 403  SJ Statute of
  P079   2011.09.28 Email Chain Re VPA - Confidential                 NSR 00030390                  NSR 30(b)(6) Joyner     Limitations 802 - Hearsay
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                    Coleman Depo.           402, & 403  SJ Statute of
  P080   2011.09.29 Email Chain Re Personal & Confidential            NPBL011661     NPBL011663     Stinson Depo.           Limitations 802 - Hearsay
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                                            relevant to show conspiracy &
                                                                                                                            unfairly prejudicial; 401, 402, &
                                                                                                                            403  SJ Statute of Limitations;
  P081   2011.11.07 Email Chain Re NPBL                               NSR_00026701   NSR_00026701                           602 - Foundation                  NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                            401, 402, & 403  SJ Statute of
  P082   2011.12.29 Minutes of the Board of Directors                 CSXT0126025    CSXT0126029    Eliasson Depo.          Limitations; 403 - Cumulative
         2012.08.03 Email Chain Fw Meeting with VPA, Perdue re                                                              401, 402, & 403  SJ Statute of
  P083   PMT                                                          NSR 00169721   NSR 00169723   Martinez Depo.          Limitations 802 - Hearsay
                                                                                                    C. Booth Depo.          401, 402, & 403  SJ Statute of
  P084   2013 Norfolk Southern East Coast Port Review                 NSR_00000912   NSR_00000960   NSR 30(b)(6) Joyner     Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
  P085   2013.04.01 Email Chain Fw Meeting with Perdue of March 27NPBL016311         NPBL016312     Martinez Depo.          Limitations; 802 - Hearsay
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                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
                                                                                                                                relevant to show conspiracy &
                                                                                                                                unfairly prejudicial; 401, 402, &
                                                                                                                                403  SJ Statute of Limitations;
         2013.04.02 Email Chain FW Statement of Governor                                                                        802 - Hearsay; 805 - Double
  P086   McDonnell on Port PPTA Decision and Restructuring           NSR_00081982    NSR_00081984    Heller Depo. 1             Hearsay                           NPBL MIL #1; NS MIL (D.E. 337)
         2013.04.24 Email Chain Re Comments on the proposed                                                                     401, 402, & 403  SJ Statute of
  P087   Centerpoint rail plan for PMT as shown in sketch EX-209     NSR_00306006    NSR_00306009    Martinez Depo.             Limitations; 802 - Hearsay
         2013.09.30 Email Chain Fw PMT Update attaching 9/25/13                                                                 401, 402, & 403  SJ Statute of
         Draft C. Moss letter to J. Florin Re Portsmouth Marine                                                                 Limitations; 802 - Hearsay; 602 -
  P088   Terminal                                                    NSR_00065391    NSR_00065395    Martinez Depo.             Foundation
                                                                                                                                401, 402, & 403  SJ Statute of
  P089   2014.02.11 Email Chain Re VIT Action                        NSR 00264008    NSR 00264009    McClellan Depo.2           Limitations
                                                                                                                                401, 402, & 403  SJ Statute of
         2014.02.14 Email Re CSX write up attaching CSX PMT rail                                                                Limitations; 802 - Hearsay; 602 -
  P090   service plan issues                                     NPBL023805          NPBL023807      Martinez Depo.             Foundation

         2015, Master Rail Plan for The Port of Virginia (Senate Joint                                                          401, 402, & 403  Relevance;
  P091   Resolution 69)                                                N/A           N/A                                        802 - Hearsay; 602 - Foundation
                                                                                                                                401, 402, & 403  SJ Statute of
         2015.03.10 Email Chain FW Backgrounder on the Charleston                                                               Limitations; 401, 402 --
  P092   ICTF attaching Background on the Charleston ICTF         NSR_00174844       NSR_00174847    Martinez Depo.             Relevance


                                                                                                                                401, 402, & 403  SJ Statute of
                                                                                                                                Limitations; 403 - Unfairly
                                                                                                                                Prejudicial; 602 - Foundation;
  P093   2015.03.30 Email Chain Re CMA-Ed McCarthy Discussion        CSXT0001288     CSXT0001288                                802 - Hearsay
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
                                                                                                                                prejudicial; 401, 402, & 403 
                                                                                                                                SJ Statute of Limitations; 403 -
         2015.03.31 Email Chain Fw CSX Traffic to NIT via NPBL -                                     Stinson Depo.              Cumulative; 403 - Unfairly
  P094   Moss to Stinson "For Your Eyes Only"                    NPBL010915          NPBL010918      NPBL 30(b)(6)/Moss Depo.   Prejudicial; 802 - Hearsay
                                                                                                                                401, 402, & 403  SJ Statute of
         2015.03.31 Email Chain Fw CSX Traffic to NIT via NPBL - SDT RES                                                        Limitations; 802 - Hearsay; 602 -
  P095   VIT                                                     000298              SDT RES 000299 VIT 30(b)(6) Depo.          Foundation
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
         2015.03.31 Email Chain Re CSX Traffic to NIT via NPBL -                                                                prejudicial; 401, 402, & 403 
  P096   Moss to Terry Evans                                         NPBL010919      NPBL010922      NPBL 30(b)(6)/Moss Depo.   SJ Statute of Limitations
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
                                                                                                                                relevant to show conspiracy &
                                                                                                                                unfairly prejudicial; 401, 402, &
                                                                                                                                403  SJ Statute of Limitations;
                                                                                                                                403 - Cumulative; 403 -
                                                                                                                                Misleading; 403 - Unfairly
         2015.03.31 Email Chain Re CSX Traffic to NIT via NPBL -                                                                Prejudicial; 602 - Foundation;
  P097   T. Evans, J. Heller chain                                   NSR_00047281    NSR_00047285                               802 - Hearsay                     NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
         2015.04.09 Email Chain FW [External] Request for Operating                                                             prejudicial; 401, 402, & 403 
  P098   Window                                                     NPBL024288                       Luebbers Depo. 1           SJ Statute of Limitations
                                                                                                                                401, 402, & 403  SJ Statute of
         2015.04.09 Email Chain FW Request for Operating Window -                                    CSXT0112579-80             Limitations; 602 - Foundation;
  P099   NPBL                                                     CSXT0090266        CSXT0090267     Kendall Depo.              802 - Hearsay
                                                                                                                                401, 402, & 403  MIL Lost
                                                                                                                                Customers; 401, 402, & 403 
                                                                                                                                MIL Reasonable Rate; 401, 402,
                                                                                                                                & 403  SJ Statute of
                                                                                                                                Limitations; 602 - Foundation;
  P100   2015.04.09 Email Chain re FW NIT Access       Customer Loss CSXT0090235     CSXT0090235                                802 - Hearsay
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
                                                                                                                                prejudicial; 401, 402, & 403 
  P101   2015.04.09 Email chain Re Request for Operating Window      NPBL005672      NPBL005673      NPBL 30(b)(6)/Moss Depo.   SJ Statute of Limitations
                                                                                                                                401, 402, & 403  SJ Statute of
  P102   2015.04.15 Email Chain Fw request for move to NIT           NSR_00001400                    C. Booth Depo.             Limitations
                                                                                                                                401, 402, & 403  SJ Statute of
                                                                                                                                Limitations; 602 - Foundation;
  P103   2015.04.16 Email re NIT Update                              CSXT0037777     CSXT0037777                                802 - Hearsay
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
                                                                                                                                prejudicial; 401, 402, & 403 
                                                                                                     NPBL 30(b)(6)/Moss Depo.   SJ Statute of Limitations; 802 -
  P104   2015.04.17 C. Moss letter to J. Yates                       NPBL005666      NPBL005667      NSR 30(b)(6) Hunt          Hearsay

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
                                                                                                                                relevant to show conspiracy &
                                                                                                                                unfairly prejudicial; 401, 402, &
  P105   2015.04.21 Email Re voice mail from VIT                     NSR_00001390                    C. Booth Depo.             403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
                                                                                                                                relevant to show conspiracy &
                                                                                                                                unfairly prejudicial; 401, 402, &
         2015.07.09 Email Chain Re NPBL Agreements attaching                                         Heller Depo. 1             403  SJ Statute of Limitations;
  P106   Norfolk Rail Operations                                     NSR_00047112    NSR_00047114    Luebbers Depo. 1           602 - Foundation; 802 - Hearsay NPBL MIL #1; NS MIL (D.E. 337)
         2015.07.31 Letter from Randal Hunt to Cannon Moss Re
         Notification of Intent to Cancel Certain Trackage Rights
  P107   Agreements                                                  NSR_00104581    NSR_00104611
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
         2015.07.31 R. Hunt letter to C. Moss Re Notification of intent                                                         prejudicial; 401, 402, & 403 
  P108   to cancel certain trackage rights agreements                   NPBL005634                   NPBL 30(b)(6)/Moss Depo.   SJ Statute of Limitations
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                                                                                                                                401 or 402 - Relevance; 401,
         2015.11.01 Contract between Commonwealth Railway,                                                                      402, & 403  MIL Reasonable
  P109   Incorporated and CSX Transportation Inc.                   CSXT0076247       CSXT0076250    CSXT 30(b)(6) Depo.        Rate

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
                                                                                                                                relevant to show conspiracy &
                                                                                                                                unfairly prejudicial; 401, 402, &
  P110   2015.12.09 Email Chain Re NPBL rate increase               NSR_00077404                     Hurlbut Depo. Ex. 6        403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)

         2016.03.14 Lawmakers give Port of Virginia a $350 million                                                              401, 402, & 403  Relevance;
  P111   helping hand to boost capacity                            N/A                N/A            Luebbers Depo. 1           602 - Foundation; 802 - Hearsay
         2016.04.18 Email Chain Fw NPBL Term Sheet (Randy Edit)                                      Luebbers Depo. 1
  P112   attaching draft term sheet                                NSR_00008141       NSR_00008144   NSR 30(b)(6) Hunt
                                                                                                                                401, 402, & 403  not relevant
                                                                                                                                to show conspiracy & unfairly
                                                                                                     NPBL007813-14              prejudicial; 401, 402, & 403 
         2016.04.26 R. Hunt letter to C. Moss Re cancellation of                                     CSXT0044428-29             SJ Statute of Limitations; 403 -
  P113   certain trackage rights and interchange agreements         NSR_00007168      NSR_00007169   NPBL 30(b)(6)/Moss Depo.   Cumulative
                                                                                                     C. Booth Depo.             401, 402, & 403  SJ Statute of
                                                                                                     Luebbers Depo. 1           Limitations; 401, 402, & 403 
  P114   2016.08.10 Email Chain Re Loop Track at PMT                NSR_00001459                     NSR 30(b)(6) Joyner        Relevancy
                                                                                                                                401, 402, & 403  MIL Lost
                                                                                                                                Customers; 401, 402, & 403 
                                                                                                                                SJ Statute of Limitations; 802 -
  P115   2016.08.30 CMA CGM, CSX                                  CSXT0047016       CSXT0047017                               Hearsay
         2016.11.10 Email Chain Re OOCL Eastern Railroad                                                                       401, 402, & 403  MIL Lost
  P116   Volumes                                                   CSXT0049331       CSXT0049333                               Customers; 802 - Hearsay
                                                                                                     Hall Depo.
                                                                                                     Heller Depo. 1             401, 402, & 403  MIL Internal
                                                                                                     McClellan Depo. 1          Emails; 401, 402, & 403  not
         2017.01.01 Email Chain FW CSX intermodal doings                                             Merilli Depo. Ex. 23       relevant to show conspiracy &
  P117   attaching CSX Intermodal Network & Terminals               NSR_00071344      NSR_00071346   Wheeler Depo.              unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
         2017.01.20 Email Chain Re 2017 CSXT Contract Offer to                                                                  401, 402, & 403  MIL Lost
  P118   Hyundai                                                    CSXT0003042       CSXT0003044    Strongosky Depo. 1         Customers; 802 - Hearsay
                                                                                                                                401, 402, & 403  MIL Lost
  P119   2017.02.28 Email Chain FW OOCL                             CSXT0096961       CSXT0096963                               Customers; 802 - Hearsay
                                                                                                                                401, 402, & 403  MIL Lost
  P120   2017.03.22 Email Chain Re ZIM  Norfolk NIT Activity      CSXT0136053        CSXT0136056                               Customers; 802 - Hearsay
         2017.04.04 Email Chain Fw Coast Guard Blvd Property -
  P121   Portsmouth, VA - Activity No. 1214735                     NSR_00005066       NSR_00005070   Heller Depo. 1             403 - Cumulative
         2017.11.16 Email Chain Re ONE Rupert and service comp                                                                  403 - Unfairly Prejudicial; 802 -
  P122   slides                                                    NSR_00049981       NSR_00049982   Heller Depo. 1             Hearsay
         2018.03.23 Coleman Handwritten Notes and Letter from Tony
         DiDeo to Cannon Moss and Donna Coleman, Re Rate                                            Coleman Depo.              401, 402, & 403  MIL
  P123   Proposal for Long Term Rail Service to NIT               NPBL000189         NPBL000210     NPBL 30(b)(6)/Moss Depo.   Diamond Track; 802 - Hearsay

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
         2018.03.28 Email Chain FW Trackage/Interchange Agreemen                                                                relevant to show conspiracy &
  P124   Drafts                                                  NSR_00218072         NSR_00218073                              unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                     Heller Depo. 1             Emails; 401, 402, & 403  not
                                                                                                     NPBL 30(b)(6)/Moss Depo.   relevant to show conspiracy &
  P125   2018.04.03 Email Chain Re NPBL - CSX                       NSR_00006321                     NSR 30(b)(6) Hunt          unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                     Armbrust Depo. 1
                                                                                                     M. Burns Depo. 1
                                                                                                     CSXT 30(b)(6) Depo.
         2018.04.05 Email Chain FW Rate Proposal for Long Term                                       DiDeo Depo.                802 - Hearsay; 401, 402, & 403
  P126   Rail Service to NIT                                        CSXT0119685       CSXT0119686    Swafford Depo.              Relevance unduly prejudicial
                                                                                                     Hall Depo.
  P127   2018.04.05 Email Chain FW Re NIT                              NPBL006232     NPBL006236     Merilli Depo.              602 - Foundation
         2018.04.10 Email Chain FW NS/CSX Meeting Minutes
         1/30/18 - Preparation for meeting with Ed Harris on 2/21
         attaching 1/30/18 Minutes of NS-CSX Strategic Planning                                                                 401, 402, & 403  MIL Internal
         Meeting and 1/27/18 Email Re NS list attaching NS-CSX                                                                  Emails; 401, 402, & 403  not
         Opportunity List and 1/28/18 Email chain Re [External] NS-                                                             relevant to show conspiracy &
         CSX Topics attaching Operational Efficiency Opportunities for                               McClellan Depo. 1          unfairly prejudicial; 602 -
  P128   CSX-NS Discussion                                             NSR_00034020   NSR_00034027   Wheeler Depo.              Foundation; 802 - Hearsay        NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Reasonable
                                                                                                                                Rate; 403 - Cumulative; 403 -
                                                                                                                                Unfairly Prejudicial; 602 -
         2018.04.13 Email Chain Fw Letter to NPBL from POV                                           NSR_00017889-92            Foundation; 802 - Hearsay; 901 -
  P129   attaching 4/13/18 J. Reinhart letter to C. Moss            CSXT0119754       CSXT0119757    VIT 30(b)(6) Depo.         Authentication
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Reasonable
         2018.04.13 Letter from John Reinhart (CEO & Executive                                                                  Rate; 403 - Cumulative; 403 -
         Director, The Port of Virginia) to Cannon Moss (President &                                 CSXT0100756-57             Unfairly Prejudicial; 602 -
         General Manager, Norfolk and Portsmouth Belt Line Railroad)                                 NPBL 30(b)(6)/Moss Depo.   Foundation; 802 - Hearsay; 901 -
  P130   Re Facilitating Dual Access for Handling Containers at NIT CSXT0100713       CSXT0100714    VPA 30(b)(6) Depo.         Authentication

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
         2018.04.16 Email Chain Re NPBL/CSX Access to NIT                                                                       relevant to show conspiracy &
  P131   attaching NPBL Access to Terminal Blvd                     NSR_00066329      NSR_00066333   Martinez Depo.             unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                     CSXT0101908-12
                                                                                                     Armbrust Depo. 1
                                                                                                     Hall Depo.                 401, 402, & 403  MIL Internal
                                                                                                     Hurlbut Depo.              Emails; 401, 402, & 403  not
         2018.04.16 S. Armbrust letter to NPBL and NSR Re Election                                   Merilli Depo.              relevant to show conspiracy &
         NPBL Directors at April 2018 Annual Meeting of the NPBL                                     NPBL 30(b)(6)/Moss Depo.   unfairly prejudicial; 401, 402, &
  P132   Shareholders                                              CSXT0151971        CSXT0151975    Summy Depo.                403  SJ Statute of Limitations

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
         2018.04.18 Email Chain Re Rate Proposal for Long Term Rail                                                             relevant to show conspiracy &
  P133   Service to NIT                                             NSR_00079915      NSR_00079916   McClellan Depo. 1          unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
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                                                                                                                                 401, 402, & 403  MIL Internal
                                                                                                                                 Emails; 401, 402, & 403  MIL
                                                                                                                                 Reasonable Rate; 401, 402, &
         2018.04.18 Email from Jackie Decker Corletto to Randall Hunt                                                            403  not relevant to show
  P134   Re Rate Proposal for Long Term Rail Service to NIT           NSR 00051329    NSR 00051330                               conspiracy & unfairly prejudicial NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                                                 401, 402, & 403  not relevant
                                                                                                      CSXT0141458-59             to show conspiracy & unfairly
  P135   2018.04.18 Minutes of the Annual Meeting of Stockholders     NPBL000757      NPBL000758      CSXT 30(b)(6) Depo.        prejudicial; 403 - Cumulative
         2018.04.18 Minutes of the Annual Meeting of Stockholders (as                                 NSR_00044572-80
  P136   amended)                                                     NSR_00000845    NSR_00000853    NPBL 30(b)(6)/Moss Depo.   403 - Cumulative
                                                                                                                                 401, 402, & 403  MIL
                                                                                                                                 Reasonable Rate; 401, 402, &
                                                                                                                                 403  not relevant to show
                                                                                                                                 conspiracy & unfairly
                                                                                                                                 prejudicial; 802 - Hearsay; 602 -
  P137   2018.04.18 Minutes of the Board of Directors Meeting - Part 1 NSR_00181980   NSR_00181987                               Foundation
                                                                                                                                 401, 402, & 403  MIL
                                                                                                                                 Reasonable Rate; 401, 402, &
                                                                                                                                 403  not relevant to show
                                                                                                      NPBL019978-79              conspiracy & unfairly
                                                                                                      NPBL 30(b)(6)/Moss Depo.   prejudicial; 802 - Hearsay; 602 -
  P138   2018.04.18 Minutes of the Board of Directors meeting - Part 2 NPBL000745     NPBL000760      CSXT 30(b)(6) Depo.        Foundation
                                                                                                      CSXT0101273                401, 402, 403 - Relevance; 403 -
                                                                                                      NPBL 30(b)(6)/Moss Depo.   Cumulative; 802 Hearsay; 403 -
  P139   2018.04.19 C. Moss Letter to J. Reinhart                   NPBL005878                        CSXT 30(b)(6) Depo.        Cumulative
                                                                                                      CSXT0102000-06
                                                                                                      Swafford Depo.
                                                                                                      Coleman Depo.
                                                                                                      Hall Depo.
                                                                                                      Hurlbut Depo.
         2018.05.18 CSXT letter to NPBL and NSR Re Objections to                                      Merilli Depo.
         Draft Meeting Minutes and Approval of 2017 Annual Report                                     NPBL 30(b)(6)/Moss Depo.   403 - Unfairly Prejudicial; 602 -
  P140   at April 2018 Meetings of the NPBL Board and Stockholders CSXT0142622        CSXT0142628     Summy Depo.                Foundation 802 - Hearsay
                                                                                                                                 401, 402, & 403  MIL
         2018.05.18 Letter from Steven Armbrust to Norfolk and                                                                   Reasonable Rate; 401, 402, &
         Portsmouth Belt Line Railroad Company & Norfolk Southern                                                                403  not relevant to show
         Railway Company Re Response of NPBL Management and                                                                      conspiracy & unfairly
  P141   Board to CSXT's Service Proposal                         CSXT0142657         CSXT0142660                                prejudicial; 802 - Hearsay

         2018.05.18 S. Armbrust Letter to G. Summy Re Norfolk
         Southern Railway Company's Response to the Remedial Action                                                              403 - Unfairly Prejudicial; 602 -
  P142   Demand and Service Proposal of CSX Transportation Inc.    CSXT0142633        CSXT0142638                                Foundation 802 - Hearsay

  P143   2018.05.29 Email Chain Re Invoice for Barge Drayage        CSXT0066199       CSXT0066202                                602 - Foundation; 802 - Hearsay
                                                                                                      NSR_00000001-15
                                                                                                      CSXT0143346-360
                                                                                                      Hall Depo.
                                                                                                      Hurlbut Depo.              401, 402, & 403  not relevant
                                                                                                      Merilli Depo.              to show conspiracy & unfairly
                                                                                                      Summy Depo.                prejudicial; 403 - Cumulative;
         2018.06.22 S. Armbrust Letter to NPBL Re Demand to Take                                      Armbrust Depo. 1           403 - Unfairly Prejudicial; 802 -
  P144   Immediate Action                                        CSXT0000775          CSXT0000789     CSXT 30(b)(6) Depo.        Hearsay
                                                                                                                                 401, 402, & 403  MIL Internal
                                                                                                                                 Emails; 401, 402, & 403  not
                                                                                                                                 relevant to show conspiracy &
         2018.08.01 Email Chain Re CSX access into NIT (Martinez to                                                              unfairly prejudicial; 802 -
  P145   McClellan)                                                 NSR 00067467                      Martinez Depo.             Hearsay                           NPBL MIL #1 NS MIL (D.E. 337)

                                                                                                                                 401, 402, & 403  MIL Internal
         2018.08.27 Email from Rob Martinez to Alan Shaw, Ed                                          Martinez Depo.             Emails; 401, 402, & 403  not
         Elkins, Jeffrey Heller, & David Lawson Re Cannon Moss -                                      NSR 30(b)(6) Hunt          relevant to show conspiracy &
  P146   NPBL                                                       NSR_00005707      NSR_00005707    Wheeler Depo.              unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                 401, 402, & 403  MIL Lost
                                                                                                                                 Customers; 602 - Foundation;
  P147   2019 Account Notes 2019.xlsx                               CSXT0013901       CSXT0013901                                802 - Hearsay
  P148   Withdrawn
  P149   Withdrawn
  P150   Withdrawn
  P151   Withdrawn
         Annual Capacity (Throughput in Lifts/Year) by Termina      SDT RES
  P152   Volume (Containers)by Terminal and Travel Mode             000260            SDT RES 000261 VIT 30(b)(6) Depo.          602 - Foundation
                                                                    SDT RES
  P153   Annual volume by terminal/Annual throughput by terminal    000124                            VIT 30(b)(6) Depo.         602 - Foundation; 802 - Hearsay

                                                                                                                                 401, 402, & 403  MIL Internal
                                                                                                                                 Emails; 401, 402, & 403  not
                                                                                                                                 relevant to show conspiracy &
                                                                                                                                 unfairly prejudicial; 401, 402, &
                                                                                                                                 403  SJ Statute of Limitations;
  P154   Charleston ICTF update March 2015 cgb                      NSR_00000865      NSR_00000867                               602 - Foundation; 802 - Hearsay NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                 401 or 402 - Relevance; 401,
         Draft Charleston OCTF Hearing Opening Statement Sept.                                                                   402, & 403  SJ Statute of
  P155   2010                                                       NSR_00165418      NSR_00165422                               Limitations
                                                                                                                                 401, 402, & 403  SJ Statute of
                                                                                                                                 Limitations; 401, 402, & 403 
                                                                                                                                 Relevancy; 403 - Cumulative;
         Norfolk Southern Presentation, Norfolk Southern and South                                                              602 - Foundation; 901
  P156   Carolina Partnering for Growth at South Carolina s Ports  NPBL001007        NPBL001079      NSR 30(b)(6) Joyner        Authentication

                                                                                                                                 401, 402, & 403  MIL Internal
                                                                                                                                 Emails; 401, 402, & 403  not
                                                                                                                                 relevant to show conspiracy &
                                                                                                                                 unfairly prejudicial; 401, 402, &
                                                                                                                                 403  SJ Statute of Limitations;
  P157   NPBL -Potential Questions                                  NSR_00105816      NSR_00105816                               602 - Foundation                  NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                 401, 402, & 403  SJ Statute of
  P158   NPBL Rate Committee Activity Review                        NSR_00306392      NSR_00306393    Luebbers Depo. 2           Limitations
                                                                    SDT RES                                                      401, 402, & 403  SJ Statute of
  P159   Rail Our Competitive Advantage                             000101            SDT RES 000111 VIT 30(b)(6) Depo.          Limitations 802 - Hearsay
  P160   Tariff NPB 8100-G, Issued 12/15/06, Effective 01/01/07     NPBL021709        NPBL021717                                 403 - Cumulative
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                                                                                                    Coleman Depo.
                                                                                                    NPBL 30(b)(6)/Moss Depo.          401, 402, & 403  SJ Statute of
  P161   Tariff NPB 8100-H Issued 3/31/08 Effective 5/1/08           NSR 00035907   NSR 00035915    Stinson Depo. Ex. 7               Limitations 403 - Cumulative
                                                                                                                                      401, 402, & 403  SJ Statute of
  P162   Tariff NPB 8100-I, Issued 12/15/09, Effective 2/1/10        NPBL021736     NPBL021744                                        Limitations
                                                                                                    CSXT 30(b)(6) Depo.
                                                                                                    DiDeo Depo.                       106 - Completeness; 401 or 402 -
                                                                                                    Hall Depo.                        Relevance; 401, 402, & 403  SJ
                                                                                                    MacDonald Depo.                   Statute of Limitations; 602 -
  P163   Tariff NPB 8100-J, issued 12/10/14, effective 2/1/15        NPBL000220     NPBL000226      NPBL 30(b)(6)/Moss Depo.          Foundation
  P164   Withdrawn
                                                                     SDT RES
  P165   Volumes by Terminal                                         000126                         VIT 30(b)(6) Depo.                602 - Foundation; 802 - Hearsay
         "Memorandum Re Projected Results of Bonus Program           NPBL000425                                                       401, 402, & 403  not relevant
         2017 NPBL Bonus Program                                     NPBL000522                                                       to show conspiracy & unfairly
  P166   2018 NPBL Bonus Program"                                    NPBL000590                     NPBL 30(b)(6)/Moss Depo. Ex. 30   prejudicial

         1981.01.01 Map - Norfolk & Portsmouth Belt Line Railroad                                                                     401, 402, & 403  SJ Statute of
  P167   and Connections with handwritten notes                      NSR_00306394   NSR_00306403    Luebbers Depo. 2                  Limitations; 602 - Foundation
                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  not relevant to
                                                                                                                                      show conspiracy & unfairly
                                                                                                                                      prejudicial; 401, 402, & 403 
                                                                                                                                      SJ Statute of Limitations; 602 -
  P168   1987.02.05 Confidentiality Agreement                        NSR_00199666   NSR_00199668                                      Foundation
                                                                                                                                      106 - Completeness; 602 -
                                                                                                                                      Foundation; 901 -
  P169   1988.10.07 NPBL Loco Operating Rights to exchange           NSR_00182322   NSR_00182323                                      Authentication
                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  MIL Internal
                                                                                                                                      Emails; 401, 402, & 403  not
                                                                                                                                      relevant to show conspiracy &
                                                                                                                                      unfairly prejudicial; 401, 402, &
                                                                                                                                      403  SJ Statute of Limitations;
  P170   1999 Various Memos                                          NSR_00306364   NSR_00306364    McClellan Depo. 3                 602 - Foundation
                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  MIL Internal
                                                                                                                                      Emails; 401, 402, & 403  not
                                                                                                                                      relevant to show conspiracy &
                                                                                                                                      unfairly prejudicial; 401, 402, &
         1999.04.01 NPBL Rate Structure Committee, Report to NPB                                                                      403  SJ Statute of Limitations;
  P171   Board of Directors                                          NSR_00199536   NSR_00199536                                      602 - Foundation                  NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                      401, 402, & 403  MIL Internal
                                                                                                                                      Emails; 401, 402, & 403  not
                                                                                                                                      relevant to show conspiracy &
                                                                                                                                      unfairly prejudicial; 401, 402, &
                                                                                                                                      403  SJ Statute of Limitations;
         1999.09.15 Norfolk and Portsmouth Belt Line Railroad                                                                         802 - Hearsay; 602 -
         Company Consent of Directors with handwritten notes and                                                                      Foundation; 901 -
  P172   8/23/99 J. Tilley letter J. Donnelly and R. Belvin          NSR_00199515   NSR_00199523    Martinez Depo.                    Authentication                    NPBL MIL #1; NS MIL (D.E. 337)
         2002.12.27 T. Hobbs letter to Appropriate NPBL Personnel
         Connecting Railroads Industries enclosing Tariff NPB8100-F,                                                                  401, 402, & 403  SJ Statute of
  P173   Issued 1/1/03, effective 2/1/03                             NSR_00306614   NSR_00306623    Luebbers Depo. 2                  Limitations; 403 - Cumulative
         2006.07.17 T. Hobbs letter to C. Earhart enclosing                                                                           401, 402, & 403  SJ Statute of
  P174   Amendment to Supplemental Agreement                         NSR 00000304   NSR 00000322    NPBL 30(b)(6)/Moss Depo.          Limitations
         2006.12.2015 T. Hobbs letter to Members, Rate Structure
         Committee Norfolk and Portsmouth Belt Line Railroad
         enclosing Tariff NPB 8100-G, issued 12/15/06, effective                                    NSR_00306443                      401, 402, & 403  SJ Statute of
  P175   1/1/07                                                      NSR_00306624   NSR_00306633    Luebbers Depo. 2                  Limitations
                                                                                                    Coleman Depo.                     401, 402, & 403  SJ Statute of
  P176   2007.09.17 Email Chain Re NPBL rate committee 2007          NSR 00027549                   Luebbers Depo. 1                  Limitations
                                                                                                    CSXT0124616-621                   401, 402, & 403  MIL
                                                                                                    NPBL005843-48                     Diamond Track; 401, 402, &
         2007.12.19 Norfolk and Portsmouth Belt Line Railroad                                       CSXT 30(b)(6) Depo.               403  SJ Statute of Limitations;
  P177   Company Board of Directors Meeting Minutes                  CSXT0000001    CSXT0000006     Armbrust Depo. 1                  403 - Cumulative
                                                                                                                                      401 or 402 - Relevance; 401,
                                                                                                                                      402, & 403  SJ Statute of
  P178   2008.01.16 Email Re Meetings / Calls Today                  NSR_00160707                   Heller Depo. 2                    Limitations; 802 - Hearsay
         2008.02.08 Unanimous Written Consent of the Board of                                                                         401, 402, & 403  SJ Statute of
  P179   Directors                                                                                  NPBL 30(b)(6)/Moss Depo. Ex. 43   Limitations;
                                                                                                                                      401, 402, & 403  not relevant
         2008.03.20 D. Coleman letter to M. Manion, W. Romig, T.                                                                      to show conspiracy & unfairly
         Drake, G. Williams, III, T. Wolfe Re meeting of Board of                                                                     prejudicial; 401, 402, & 403 
  P180   Directors with 4/9/08 Docket of Proceedings                 NPBL006936     NPBL006969      Coleman Depo.                     SJ Statute of Limitations
         2008.06.20 Minutes of the special meeting of the Board of                                                                    401, 402, & 403  SJ Statute of
  P181   Directors                                                   CSXT0124793    CSXT0124794     Ingram Depo.                      Limitations
                                                                                                                                      401, 402, & 403  SJ Statute of
         2008.07.25 Email from Jeffrey Heller to Augie Eckhardt Re                                                                    Limitations; 602 - Foundation;
  P182   Routing Containers Over Norfolk to Columbus                 NSR_00157631   NSR_00157631    Heller Depo. 2                    802 - Hearsay
                                                                                                    C. Booth Depo.                    401, 402, & 403  SJ Statute of
         2009 Document regarding rail systems with attached drawing                                 Heller Depo. 2                    Limitations; 602 - Foundation;
  P183   of various rail systems at Norfolk Port                    NSR 00104440    NSR 00104454    McClellan Depo.2                  802 - Hearsay
                                                                                                                                      401, 402, & 403  SJ Statute of
  P184   2009 NPBL Minutes                                           NPBL017865     NPBL017884                                        Limitations
         2009 NPBL Operating Revenues and Expenses from NPBL                                                                          401, 402, & 403  SJ Statute of
  P185   Rate Structure Committee Meeting Agenda                     NPBL008782     NPBL008790      J. Booth Depo.                    Limitations;
                                                                                                                                      401, 402, & 403  SJ Statute of
         2009.03.06 Email Chain Re NPBL Overview attaching                          CSXT0079906 -                                     Limitations; 602 - Foundation;
  P186   February 2009 NPBL Overview Management and Operations CSXT0079905          Native          MacDonald Depo.                   802 - Hearsay
                                                                                                                                      401, 402, & 403  not relevant
                                                                                                                                      to show conspiracy & unfairly
         2009.04.03 R. Hood Letter to D. Stinson Re Proposed                                        Coleman Depo.                     prejudicial; 401, 402, & 403 
  P187   Purchase of Norfolk and Portsmouth Beltline Property        NPBL006972     NPBL006974      Stinson Depo.                     SJ Statute of Limitations
                                                                                                                                      401, 402, & 403  not relevant
         2009.04.06 Email Chain Fw CSXT Purchase Proposal                                                                             to show conspiracy & unfairly
         attaching 4/3/09 R. Hood Letter to D. Stinson Re Proposed                                                                    prejudicial; 401, 402, & 403 
  P188   Purchase of Norfolk an Portsmouth Belt Line Property        NPBL006970     NPBL06974       Ingram Depo. Ex. 4                SJ Statute of Limitations
                                                                                                                                      401, 402, & 403  SJ Statute of
  P189   2009.04.08 Minutes of the Annual Meeting of Stockholders                                   Ingram Depo.                      Limitations;
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                                                                                                                           401, 402, & 403  not relevant
                                                                                                                           to show conspiracy & unfairly
                                                                                                                           prejudicial; 401, 402, & 403 
                                                                                                     J. Booth Depo.        SJ Statute of Limitations; 802 -
  P190   2009.04.14 T. Ingram Letter to D. Coleman                  NPBL009637        NPBL009638     Ingram Depo. Ex. 5    Hearsay

                                                                                                     CSXT0093438-475
                                                                                                     NPBL009639-475        401, 402, & 403  SJ Statute of
         2009.04.20 D. Coleman Letter to T. Ingram enclosing meeting                                 J. Booth Depo.        Limitations; 602 - Foundation;
  P191   documentation                                               CSXT0080664      CSXT0080701    Ingram Depo. Ex. 6    802 - Hearsay
         2009.04.20 Letter from Donna Coleman (Norfolk and
         Portsmouth Belt Line Railroad Company) to Tony Ingram
         (Executive Vice President, Chief Operating Officer, CSX                                                           401, 402, & 403  SJ Statute of
  P192   Transportation) Re Last Rate Committee Meeting              NPBL009639       NPBL009639                           Limitations; 802 - Hearsay
                                                                                                     Heller Depo. 1
                                                                                                     Luebbers Depo. 1      401, 402, & 403  SJ Statute of
  P193   2009.04.30 Email Chain Re CMA Norfolk Proposal             NSR_00027106      NSR_00027108   NSR 30(b)(6) Joyner   Limitations; 802 - Hearsay

         2009.06.03 Email Chain Re Thoughts re CenterPoint                                                                 401, 402, & 403  SJ Statute of
         attaching Presentation to the Joint Subcommittee to Study                                   McClellan Depo. 1     Limitations; 401, 402, & 403 
  P194   Public Private Partnerships (HJ72 Seaports) by M. McClellan NSR_00030881     NSR_00030899   NSR 30(b)(6) Joyner   Relevancy
                                                                                                     NPBL009622-9625       401, 402, & 403  SJ Statute of
         2009.06.19 D. Stinson letter to T. Ingram Re NPBL Rate                                      Coleman Depo.         Limitations; 403 - Cumulative;
  P195   Committee w/enclosures                                     CSXT0080858       CSXT0080861    Stinson Depo.         802 - Hearsay
         2009.06.19 Email Chain Re The Port of Virginia - New On-                                    Heller Depo. 1        401, 402, & 403  SJ Statute of
  P196   Dock Rail at NIT                                           NSR_00027098      NSR_00027100   Luebbers Depo. 1      Limitations
                                                                                                                           401, 402, & 403  SJ Statute of
         2009.06.24 T. Ingram Letter to D. Stinson Re CSXT                                                                 Limitations; 602 - Foundation;
  P197   Designation of participants to the NPBL Rate Committee     CSXT0124756       CSXT0124757                          802 - Hearsay
                                                                                                                           401, 402, & 403  not relevant
                                                                                                                           to show conspiracy & unfairly
                                                                                                     Luebbers Depo. 1      prejudicial; 401, 402, & 403 
  P198   2009.06.29 Email Re Rate Committee History                 NSR_00063116                     Stinson Depo.         SJ Statute of Limitations
                                                                                                                           401 or 402 - Relevance; 401,
                                                                                                                           402, & 403  not relevant to
                                                                                                                           show conspiracy & unfairly
         2009.07.05 Email Chain Re Port Norfolk Yard attaching                                                             prejudicial; 401, 402, & 403 
         6/26/09 H.G. James (Commercial First Appraisers) Letter to                                                        SJ Statute of Limitations; 802 -
  P199   D. Coleman Re Market Update                                NPBL014367        NPBL014399     Coleman Depo.         Hearsay
         2009.07.16 Email from Chris Luebbers to Liesl McLemore,
         Gregg Cronk, & Thomas Hibben Re Rate Committee Packet
         with Attachment 'Committee.pdf' Containing Rate Committee                                                         401, 402, & 403  SJ Statute of
  P200   Information                                                NSR_00074104      NSR_00074153   Luebbers Depo. 1      Limitations;
                                                                                                     Allan Depo.           401, 402, & 403  SJ Statute of
  P201   2009.07.21 Email Re questions on the Rate Committee Packet NSR_00084675                     J. Booth Depo.        Limitations
         2009.07.23 T. Ingram letter to D. Stinson Re Request for
         Information Regarding NPBL Properties enclosing 1/31/08 J.
         Bridges Letter to M. Tucker Re Rail Enhancement Funding                                     NS00007056            401, 402, & 403  SJ Statute of
         Application Norfolk Portsmouth Belt Line Railroad                                           J. Booth Depo.        Limitations; 403 - Cumulative;
  P202   Acquisition and Repair                                        NSR_00184149   NSR_00184193   Ingram Depo. Ex. 8    802 - Hearsay
         2009.07.23 T. Ingram letter to D. Stinson Re Request for                                                          401, 402, & 403  SJ Statute of
         Information Regarding NPBL Properties with handwritten                                                            Limitations; 802 - Hearsay; 602 -
  P203   notes                                                         NSR_00306440   NSR_00306442   Luebbers Depo. 2      Foundation
         2009.07.23 T. Ingram letter to NPBL Re Demand for Right to
         Inspect books and Records Pursuant to Section 13.1-773 of the                                                     401, 402, & 403  SJ Statute of
  P204   Virginia Stock Corporation Act                                NPBL015656     NPBL015660     Ingram Depo. Ex. 9    Limitations; 802 - Hearsay
                                                                                                                           106 - Completeness; 401, 402,
                                                                                                     Allan Depo.           & 403  SJ Statute of
         2009.07.24 Email Chain FW Need Documents for the Rate                                       J. Booth Depo.        Limitations; 602 - Foundation;
  P205   Committee Mtg                                              CSXT0124768       CSXT0124782    Houfek Depo.          802 - Hearsay

                                                                                                                           401, 402, & 403  MIL Internal
                                                                                                                           Emails; 401, 402, & 403  not
                                                                                                                           relevant to show conspiracy &
         2009.07.27 Email Re CSX and NPBL - Letter to Manion with                                    Heller Depo. 2        unfairly prejudicial; 401, 402, &
  P206   attachments                                              NSR_00177916        NSR_00177973 McClellan Depo.2        403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                      NSR_00084667 -                       401, 402, & 403  SJ Statute of
  P207   2009.08.03 Email Chain Re other shortline tariffs          NSR_00084666      Native         J. Booth Depo.        Limitations

                                                                                                                           401, 402, & 403  MIL
                                                                                                                           Diamond Track; 401, 402, &
         2009.08.05 Email Chain FW Length and Curvature of the East                                                        403  SJ Statute of Limitations;
  P208   Leg of the Wye                                             CSXT0124808       CSXT0124809    J. Booth Depo         602 - Foundation; 802 - Hearsay
         2009.08.13 Email Chain Re NSRR / NPBL "Carolina                                                                   401, 402, & 403  SJ Statute of
  P209   Junction" is permanently disabled                          Unknown           Unknown        J. Booth Depo.        Limitations;
                                                                                                                           401, 402, & 403  SJ Statute of
  P210   2009.08.24 Email Re Norfolk Volumes                        NSR_00027049                     Luebbers Depo. 1      Limitations
                                                                                                                           401, 402, & 403  not relevant
                                                                                                                           to show conspiracy & unfairly
                                                                                                                           prejudicial; 401, 402, & 403 
  P211   2009.08.24 Email Re Track Chart Questions                  NSR_00027052                     Luebbers Depo. 1      SJ Statute of Limitations
                                                                                                                           401, 402, & 403  SJ Statute of
  P212   2009.08.28 Email Chain FW Questions about Agreements       Unknown           Unknown        J. Booth Depo.        Limitations;
         2009.09.04 Minutes of special meeting of the Board of                                       NPBL012159-60         401, 402, & 403  SJ Statute of
  P213   Directors                                                  NPBL007092        NPBL007093     Summy Depo.           Limitations
                                                                                                                           401 or 402 - Relevance; 401,
                                                                                                                           402, & 403  SJ Statute of
                                                                                                                           Limitations; 602 - Foundation;
  P214   2009.09.04 NPBL Docket for Board Meeting                   CSXT0124813       CSXT0124868                          802 - Hearsay
                                                                                                                           106 - Completeness; 401, 402,
                                                                                                                           & 403  MIL Diamond Track;
                                                                                                                           401, 402, & 403  SJ Statute of
  P215   2009.09.08 Email Chain FW Questions about Agreements       CSXT0081955       CSXT0081979    J. Booth Depo.        Limitations; 802 - Hearsay

                                                                                                                           401, 402, & 403  MIL Internal
                                                                                                                           Emails; 401, 402, & 403  not
                                                                                                                           relevant to show conspiracy &
                                                                                                                           unfairly prejudicial; 401, 402, &
  P216   2009.09.21 Email Chain FW NPBL Rate Committee              NSR_00183825                     Coleman Depo.         403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
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                                                                                                                            401, 402, & 403  MIL
                                                                                                                            Reasonable Rate; 401, 402, &
                                                                                                                            403  SJ Statute of Limitations;
  P217   2009.09.24 NPBL Rate Committee - Summary of Meeting        CSXT0082057        CSXT0082060                          602 - Foundation; 802 - Hearsay

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                                            relevant to show conspiracy &
                                                                                                                            unfairly prejudicial; 401, 402, &
                                                                                                                            403  SJ Statute of Limitations;
  P218   2009.09.26 Email Chain Re PMT                              NSR 00030864       NSR 00030865   Martinez Depo.        802 - Hearsay 602 - Foundation NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  not relevant to
                                                                                                                            show conspiracy & unfairly
         2009.09.28 Email Chain Re Intermodal facilities and LEED                                                           prejudicial; 401, 402, & 403 
  P219   Certification                                              NSR_00015161       NSR_00015164   McClellan Depo. 1     SJ Statute of Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
                                                                                                      NSR_00183834-38       Limitations; 401, 402, & 403 
         2009.10.05 Memorandum for Recordation in the Minutes of                                      Ingram Depo. Ex. 13   MIL Diamond Track; 802 -
  P220   the 2009.09.04 Board Meeting                               NPBL019887         NPBL019891     Summy Depo.           Hearsay
         2009.10.05 Minutes of special meeting to the Board of                                                              401, 402, & 403  SJ Statute of
  P221   Directors                                                  NPBL007163         NPBL007164     Summy Depo.           Limitations

         2009.10.05 Norfolk and Portsmouth Belt Line Railroad
         Company Board of Directors Meeting Minutes with NPBL                                                               401, 402, & 403  SJ Statute of
  P222   Management Response to CSX Memorandum for Recordation NPBL007095              NPBL007099     Summy Depo.           Limitations 802 - Hearsay
                                                                                                                            401, 402, & 403  MIL
                                                                                                      NSR_00074093          Reasonable Rate; 401, 402, &
                                                                                                      Allan Depo. Ex. 8     403  SJ Statute of Limitations;
  P223   2009.10.13 Email Chain FW Rate Committee Info - CSX        CSXT0082066        CSXT0082067    J. Booth Depo.        802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
  P224   2009.10.13 Email Chain FW Rate Committee Info - NS         NSR 00074093                      Stinson Depo.         Limitations
                                                                                                                            401, 402, & 403  MIL
                                                                                                                            Reasonable Rate; 401, 402, &
         2009.10.15 Email Chain FW Recommendations of CSXT                                                                  403  SJ Statute of Limitations;
  P225   Rate Committee Representatives                             CSXT0082144                       Allan Depo.           802 - Hearsay
                                                                                                                            401 or 402 - Relevance; 401,
         2009.10.15 T. Ingram Letter to D. Stinson Re NPBL                                                                  402, & 403  SJ Statute of
  P226   Corporate Governance Matters                               CSXT0109700        CSXT0109700                          Limitations; 602 - Foundation
                                                                                                      NPBL012140-51
                                                                                                      Ingram Depo.          401, 402, & 403  SJ Statute of
  P227   2009.10.16 D. Stinson Letter to T. Ingram                  NPBL007101         NPBL007112     Stinson Depo.         Limitations; 802 - Hearsay
         2009.10.22 Letter from Tony L. Ingram & Bill C. Clement
         (CSX Transportation) to Norfolk and Portsmouth Belt Line
         Railroad Company Re NPBL Reply to CSXT Memorandum                                                                  401, 402, & 403  SJ Statute of
  P228   [NPBL Board Minutes, Sept. 4, 2009]                        NSR_00074086       NSR_00074087   Ingram Depo. Ex. 18   Limitations; 802 - Hearsay
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  SJ Statute of
                                                                                                                            Limitations; 403 - Unfairly
         2009.10.22 T. Ingram Letter to NPBL Re NPBL Board                                                                  Prejudicial; 602 - Foundation;
  P229   Meeting, Monday, October 26                                 NSR_00183796      NSR_00183797                         802 - Hearsay
         2009.10.23 D. Stinson Letter to T. Ingram and W. Clement Re                                  CSXT0125045-57        401, 402, & 403  SJ Statute of
  P230   NPBL Board Meeting Monday October 26                        NPBL007144        NPBL007156     Ingram Depo.          Limitations 802 - Hearsay
                                                                                                      NPBL006573-75         401, 402, & 403  not relevant
                                                                                                      CSXT0082190-91        to show conspiracy & unfairly
         2009.10.23 Email Re NS Recommendations, with Attachment                                      Luebbers Depo. 1      prejudicial; 401, 402, & 403 
  P231   'NPBL Recommendations 10-23-09.doc'                     NSR_00035548          NSR_00035550   Coleman Depo.         SJ Statute of Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
  P232   2009.10.26 Email Chain FW Board Meeting                    NSR 00183792       NSR 00183793                         Limitations 802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
  P233   2009.10.26 NPBL Agenda                                     NPBL009271         NPBL009303                           Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
  P234   2009.10.26 NPBL Special Meeting Minutes                    CSXT0000247        CSXT0000247                          Limitations; 802 - Hearsay
         2009.12.02 Norfolk and Portsmouth Belt Line Railroad                                         NPBL007205-46         401, 402, & 403  SJ Statute of
  P235   Company Board of Directors Meeting Docket                  NPBL007248         NPBL007300     Stinson Depo.         Limitations
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  not relevant to
                                                                                                                            show conspiracy & unfairly
                                                                                                                            prejudicial; 401, 402, & 403 
         2009.12.08 Email Chain Re Urgent Follow up NS Meeting in                                                           SJ Statute of Limitations; 602 -
  P236   Taoyuan                                                        NSR 00299467   NSR 00299469   McClellan Depo. 2     Foundation 802 - Hearsay
         2009.12.10 Email Re NPBL Agenda -- take a quick look
         attaching 12/2/09 Docket of Proceedings of Board of Director's                                                     401, 402, & 403  SJ Statute of
  P237   meeting                                                        NSR 00074022   NSR 00074075   Summy Depo.           Limitations
                                                                        NPBL007646     NPBL007672
                                                                        NPBL015196     NPBL015222
                                                                        NPBL009144     NPBL009169
                                                                        NPBL009171     NPBL009192
                                                                        NPBL015563     NPBL015584
                                                                        NPBL015601     NPBL015622
                                                                        NPBL013498     NPBL013519
                                                                        NPBL006180     NPBL006200
         2010 through 2019 Annual Reports for the Norfolk and           NPBL026348     NPBL026369                           401, 402, & 403  SJ Statute of
  P238   Portsmouth Belt Line Railroad Company                          NPBL027926     NPBL027946                           Limitations; 403 - Cumulative
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  SJ Statute of
  P239   2010.01.15 Email chain FW October Minutes for T. Ingram    CSXT0125367        CSXT0125367                          Limitations; 802 - Hearsay
                                                                                                      Allan Depo.
                                                                                                      Armbrust Depo. 1
                                                                                                      MacDonald Depo.
         2010.01.30 Email Chain Re "x" Train - Portsmouth to                                          J. Booth Depo.        401, 402, & 403  SJ Statute of
  P240   Wilmington Requested                                       CSXT0082577        CSXT0082579    Houfek Depo.          Limitations; 802 - Hearsay
                                                                                                                            401, 402, & 403  MIL Lost
                                                                                                                            Customers; 401, 402, & 403 
         2010.03.09 Email Chain Re Today's CSX Meeting with VPA /                                                           SJ Statute of Limitations; 802 -
  P241   VIT                                                      CSXT0082724          CSXT0082726    Houfek Depo.          Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
  P242   2010.03.16 Email Chain FW Ingram & Clement resignations CSXT0082750                          Ingram Depo.          Limitations 802 - Hearsay
         2010.04.14 Docket of Proceeding of Board of Director's                                                             401, 402, & 403  SJ Statute of
  P243   Meeting                                                 NPBL007345            NPBL007368     Eliasson Depo.        Limitations
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                                                                                                                            401, 402, & 403  SJ Statute of
  P244   2010.04.20 Email Re Operations Meeting Follow-Up             NPBL015661      NPBL015662     MacDonald Depo.        Limitations; 802 - Hearsay
                                                                                                     Allan Depo.            401, 402, & 403  SJ Statute of
  P245   2010.04.21 Email Chain Re April 14th minutes                 CSXT0008295                    Eliasson Depo.         Limitations; 802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
         2010.05.19 Minutes of Meeting with Virginia Port Authority                                                         Limitations; 602 - Foundation;
  P246   and CSX                                                      VPA000793                      VPA 30(b)(6) Depo.     802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
  P247   2010.05.20 Email Chain Re NPBL/CSX Access to NIT             NSR 00042856    NSR 00042858   C. Booth Depo.         Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
  P248   2010.05.20 Operation Plan with notes                         NSR_00306428    NSR_00306431   Luebbers Depo. 2       Limitations
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  not relevant to
                                                                                                     Heller Depo. 1         show conspiracy & unfairly
         2010.05.21 Email Chain Re Heartland Corridor Value                                          Luebbers Depo. 1       prejudicial; 401, 402, & 403 
  P249   Proposition Final Draft (2).doc attaching draft              NSR_00001929    NSR_00001978   McClellan Depo. 1      SJ Statute of Limitations
                                                                                                     NPBL027608-12          106 - Completeness; 401, 402,
                                                                                                     MacDonald Depo.        & 403  SJ Statute of
         2010.05.26 Email Chain Re NIT Operating Plan attaching                                      Coleman Depo.          Limitations; 602 - Foundation;
  P250   5/20/10 CSX Operation Plan                                   NPBL013644      NPBL013651     VIT 30(b)(6) Depo.     802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
         2010.06.24 Email Chain FW NIT/APMT Volume and Capital                                                              Limitations; 602 - Foundation;
  P251   Updates                                               CSXT0083411            CSXT0083412                           802 - Hearsay
                                                                                                                            401, 402, & 403  SJ Statute of
  P252   2010.07.15 Email Chain Re NPBL Operating Plan                CSXT0083675                    J. Booth Depo.         Limitations; 802 - Hearsay
         2010.07.15 Email Chain Re VIT Management of APMVA                                                                  401, 402, & 403  SJ Statute of
  P253   and Corresponding Vessel Transition                          NSR 00001920    NSR 00001922   Heller Depo. 1         Limitations

         2010.07.19 Article What's at Stake in North Charleston Rail                                 Heller Depo. 1         401, 402, & 403  SJ Statute of
  P254   Debate (Brotherhood of Locomotive Engineers and Trainmen) N/A                N/A            NSR 30(b)6 Joyner      Limitations
         2010.07.23 Email Chain FW Revised Operating Plan/Rate
         Request attaching 7/23/10 J. Booth letter to D. Stinson and D.
         Coleman Re Rail Service Connection to NIT - Rate Proposal                                   Coleman Depo.          401, 402, & 403  SJ Statute of
  P255   and Operating/Financial Plan                                   CSXT0025826   CSXT0025832    MacDonald Depo.        Limitations; 802 - Hearsay
         2010.07.23 J. Booth Letter to D. Stinson and D. Coleman Re
         Rail Service Connection to NIT - Rate Proposal and                                                                 401, 402, & 403  SJ Statute of
  P256   Operating/Financial Plan                                       NS00007353    NS00007353     J. Booth Depo.         Limitations;
                                                                                                                            401, 402, & 403  SJ Statute of
         2010.07.26 CSX Public Affairs Interoffice Memo Re Meeting                                                          Limitations; 602 - Foundation;
  P257   with Virginia Governor Bob McDonnell (R-VA)               CSXT0125636        CSXT0125642    Eliasson Depo. Ex. 2   802 - Hearsay
         2010.07.28 Email Chain Fw BIT Operating Plan afforded the                                                          401, 402, & 403  SJ Statute of
  P258   NPBL/CSXT = FW Please Evaluate                            NSR 00306436       NSR 00306437   Luebbers Depo. 2       Limitations
                                                                                                                            401, 402, & 403  SJ Statute of
         2010.08.03 Email Fw Martinez response, revised attaching                                                           Limitations; 401, 402 --
  P259   8/3/10 draft Martinez response to Summy                      NSR_00173215    NSR_00173217   Martinez Depo.         Relevance

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                     Stinson Depo.          relevant to show conspiracy &
                                                                                                     Summy Depo.            unfairly prejudicial; 401, 402, &
  P260   2010.08.05 Email Chain Fw CSX NIT Operation Proposal         NSR_00073997                   Wheeler Depo.          403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)

         2010.08.05 Email Re Comments on CSXT Rate Proposal
         attaching 8/5/10 D. Stinson letter Re Rail Service Connection                                                      401, 402, & 403  SJ Statute of
  P261   to NIT - CSXT Rate Proposal dated July 23, 2010               NPBL012438     NPBL012440     Eliasson Depo.         Limitations
         2010.08.16 Email Chain Re Revised Operating Plan/Rate
         Request attaching 8/16/10 D. Stinson letter to J. Booth Re
         Rail Service Connection to NIT - Rate Proposal dated July 23,                               Coleman Depo.          401, 402, & 403  SJ Statute of
  P262   2010                                                          NPBL015679     NPBL015681     J. Booth Depo.         Limitations
         2010.08.24 Email Re Docket attaching 9/8/10 Docket of                                                              401, 402, & 403  SJ Statute of
  P263   Proceedings of Board of Directors Meeting                     NPBL007440     NPBL007465     Eliasson Depo.         Limitations
         2010.08.26 Email Chain FW Norfolk, VA - QM Junction
         trackage improvements // Possible CSXT Access to Norfolk
         International Terminal attaching Conceptual Plan - Proposed
         Track Changes Along the Sewells Point Branch at CP OM                                                              401, 402, & 403  SJ Statute of
  P264   Junction                                                      NSR_00001917   NSR_00001919   C. Booth Depo          Limitations

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                                            relevant to show conspiracy &
                                                                                                                            unfairly prejudicial; 401, 402, &
  P265   2010.08.30 Email Chain Re CSX NIT Operation Proposal         NSR_00062857    NSR_00062860   Luebbers Depo. 1       403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
         2010.09.01 CSXT Memorandum to NPBL Management &
         James Chapman , Esq. (NPBL General Counsel) Re NPBL's                                                              401, 402, & 403  SJ Statute of
  P266   Management Response to CSXT Rate Proposal                    NPBL015431      NPBL015433     Armbrust Depo. 1       Limitations
                                                                                                                            401 or 402 - Relevance; 401,
         2010.09.01 Email from Cannon Moss to Rob Martinez Re                                                               402, & 403  SJ Statute of
  P267   Questions for murder board                                   NSR_00031344    NSR_00031345                          Limitations
         2010.09.02 Email from Cannon Moss to Rob Martinez Re                                                               401, 402, & 403  SJ Statute of
  P268   Questions, with Attachment 'Questions.docx'                  NSR_00031335    NSR_00031343   Martinex Depo.         Limitations
                                                                                                     NSR_00000807-11
                                                                                                     Eliasson Depo.
         2010.09.03 CSXT Memorandum Re NPBL Management                                               Stinson Depo.          401, 402, & 403  SJ Statute of
  P269   Response to CSXT Rate Proposal                               NSR_00000819    NSR_00000821   Coleman Depo.          Limitations; 802 - Hearsay

                                                                                                                            401, 402, & 403  MIL Internal
                                                                                                                            Emails; 401, 402, & 403  not
                                                                                                     Luebbers Depo. 1       relevant to show conspiracy &
                                                                                                     Stinson Depo.          unfairly prejudicial; 401, 402, &
  P270   2010.09.03 Email Chain Re CSX NIT Operation Proposal         NSR_00062844    NSR_00062846   Wheeler Depo.          403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                            401, 402, & 403  SJ Statute of
  P271   2010.09.03 Email Chain Re NPBL                               NSR_00306438    NSR_00306439   Luebbers Depo. 2       Limitations
                                                                                                                            401 or 402 - Relevance; 401,
                                                                                                                            402, & 403  not relevant to
                                                                                                                            show conspiracy & unfairly
                                                                                                                            prejudicial; 401, 402, & 403 
         2010.09.08 Norfolk and Portsmouth Belt Line Railroad                                                               SJ Statute of Limitations; 403 -
  P272   Company Board of Directors Meeting Minutes                   NPBL019920      NPBL019920                            Cumulative
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                                                                                                                                 401, 402, & 403  MIL
                                                                                                                                 Reasonable Rate; 401, 402, &
                                                                                                                                 403  SJ Statute of Limitations;
                                                                                                                                 403 - Cumulative; 602 -
  P273   2010.09.08 NPBL Agenda                                       NPBL009337       NPBL009361                                Foundation; 802 - Hearsay
                                                                                                                                 401, 402, & 403  SJ Statute of
  P274   2010.10.08 Email Re NPB (CSX) Intermodal Service to NIT NPBL007488                           Wheeler Depo.              Limitations; 802 - Hearsay

         2010.10.24 Email Chain Fw International Contract Strategy                                                               401, 402, & 403  SJ Statute of
  P275   attaching 10/23/10 International Contract Strategy - 24 months NSR_00026304   NSR_00026310   McClellan Depo. 1          Limitations
                                                                                                      Armbrust Depo. 1
         2010.11.01 Email Chain FW NPBL Agreement to send over                                        J. Booth Depo.             401, 402, & 403  SJ Statute of
  P276   (via pdf) to Donna                                           CSXT0109886      CSXT0109887    Eliasson Depo.             Limitations; 802 - Hearsay
         2010.11.11 Email Chain FW NPBL Agreement to send over                                                                   401, 402, & 403  SJ Statute of
  P277   (via pdf) to Donna                                           CSXT0084772      CSXT0084774    J. Booth Depo.             Limitations 802 - Hearsay

         2010.11.19 Email Re December 1st Docket attaching 12/1/10                                                               401, 402, & 403  SJ Statute of
  P278   Docket of the Proceedings of Board of Director's Meeting  NPBL007490          NPBL007511     Eliasson Depo.             Limitations

         2010.12.01 Docket of Proceedings of Board of Director's                                                                 401, 402, & 403  SJ Statute of
  P279   Meeting                                                      NPBL007491       NPBL007525     Coleman Depo.              Limitations; 403 - Cumulative
                                                                                                                                 401, 402, & 403  MIL
                                                                                                                                 Reasonable Rate; 401, 402, &
                                                                                                                                 403  SJ Statute of Limitations;
  P280   2010.12.01 NPBL Agenda                                       NPBL016704       NPBL016724                                602 - Foundation
                                                                                                                                 401, 402, & 403  SJ Statute of
  P281   2010.12.01 NPBL Agenda Item 6 - Action                       NPBL007502       NPBL07503      Wheeler Depo.              Limitations

                                                                                                      Wheeler Depo.
         2010.12.29 Minutes of the Board of Directors meeting (with                                   Summy Depo.                401, 402, & 403  SJ Statute of
  P282   NS handwritten notes and CSXT memorandum)                    NSR_00000704     NSR_00000745   Stinson Depo. Ex. 26       Limitations; 602 - Foundation

         2010.12.29 Minutes of the Board of Directors                                                                            401, 402, & 403  SJ Statute of
  P283   meeting(amended)                                             NPBL015269       NPBL015273     Armbrust Depo. 1           Limitations; 403 - Cumulative
                                                                                                                                 401 or 402 - Relevance; 401,
                                                                                                                                 402, & 403  not relevant to
                                                                                                                                 show conspiracy & unfairly
                                                                                                                                 prejudicial; 401, 402, & 403 
  P284   2010.12.29 NPBL Board of Directors Meeing Minutes            NPBL019914       NPBL019918     CSXT0000294-298            SJ Statute of Limitations
  P285   Withdrawn
                                                                                                                                 401, 402, & 403  SJ Statute of
  P286   2011.01.26 Email Chain Re South Carolina Meetings            NSR 00026916     NSR 00026917   Luebbers Depo. 1           Limitations
                                                                                                                                 401, 402, & 403  SJ Statute of
         2011.01.30 At work with Donna Coleman of Belt Line                                                                      Limitations; 602 - Foundation;
  P287   Railroad, R. McCabe                                          N/A              N/A            Coleman Depo.              802 - Hearsay
                                                                                                                                 401, 402, & 403  SJ Statute of
  P288   2011.02.02 Email Chain FW Proposed Meeting                   CSXT0085753      CSXT0085754    J. Booth Depo.             Limitations; 802 - Hearsay
                                                                                                                                 401 or 402 - Relevance; 401,
                                                                                                                                 402, & 403  not relevant to
                                                                                                                                 show conspiracy & unfairly
                                                                                                                                 prejudicial; 401, 402, & 403 
                                                                                                                                 SJ Statute of Limitations; 802 -
  P289   2011.02.02 J. Florin letter to D. Coleman Re Beltline        NPBL014366                      Coleman Depo.              Hearsay
         2011.02.13 Email Chain Re Sewell's Point Operating                                                                      401, 402, & 403  SJ Statute of
  P290   Agreement                                                    NPBL007580       NPBL007581     Coleman Depo.              Limitations
                                                                                                                                 401, 402, & 403  SJ Statute of
  P291   2011.02.14 Email Chain FW Port Norfolk Property offer        CSXT0086053      CSXT0086054    J. Booth Depo.             Limitations; 802 - Hearsay

                                                                                                                                 401 or 402 - Relevance; 401,
                                                                                                                                 402, & 403  MIL Internal
                                                                                                                                 Emails; 401, 402, & 403  not
                                                                                                                                 relevant to show conspiracy &
                                                                                                                                 unfairly prejudicial; 401, 402, &
  P292   2011.02.17 Draft GES and CGB letter to D. Stinson 3/1/11     NSR_00000872     NSR_00000873   C. Booth Depo.             403  SJ Statute of Limitations
                                                                                                                                 401, 402, & 403  MIL
                                                                                                                                 Diamond Track; 401, 402, &
                                                                                                                                 403  SJ Statute of Limitations;
                                                                                                                                 403 - Unfairly Prejudicial; 802 -
  P293   2011.03.15 Email Chain Re NPBL                            CSXT0026548                        Allan Depo. Ex. 16         Hearsay
         2011.04.04 Email Re Annual Stockholder's Meeting & Board
         Meeting Docket attaching 4/13/11 Docket of Proceedings of                                                               401, 402, & 403  SJ Statute of
  P294   Board of Directors                                        NPBL007586          NPBL007644     Eliasson Depo.             Limitations
         2011.04.07 Email Chain FW Comments on CSXT Rate
         Proposal attaching 8/5/10 D. Stinson Letter to Allison,
         Armbrust, Drake, Eliasson, Wheeler Re Rail Service                                                                      401, 402, & 403  SJ Statute of
  P295   Connection to NIT - CSXT Rate Proposal dated 7/23/10      NSR_00194989        NSR_00194991   C. Booth Depo.             Limitations
         2011.04.12 Email Chain FW Agenda for Board of Directors                                                                 401, 402, & 403  SJ Statute of
  P296   Meeting                                                   NSR_00180594        NSR_00180595   Coleman Depo.              Limitations
         2011.04.13 Norfolk and Portmsouth Belt Line Railroad                                         NPBL023126                 401, 402, & 403  SJ Statute of
  P297   Company Annual Meeting of Stockholders Minutes            CSXT0000262         CSXT0000266    Eliasson Depo.             Limitations

         2011.04.13 Norfolk and Portsmouth Belt Line Railroad
         Company Board of Directors Meeting Minutes; 4/13/2011
         Norfolk and Portsmouth Belt Line Railroad Company Annual
         Meeting of Stockholders Meeting Minutes; 4/13/2011 Norfolk
         and Portsmouth Belt Line Railroad Company Board of
         Directors Meeting Minutes; Unanimous Written Consent of the
         Board of Directors; 9/19/2011 Norfolk and Portsmouth Belt
         Line Railroad Company Board of Directors Meeting Minutes;
         9/23/2011 Norfolk and Portsmouth Belt Line Railroad
         Company Board of Directors Meeting Minutes; 12/7/2011                                                                   401, 402, & 403  not relevant
         Norfolk and Portsmouth Belt Line Railroad Company Board of                                                              to show conspiracy & unfairly
         Directors Meeting Minutes; Norfolk and Portsmouth Belt Line                                                             prejudicial; 401, 402, & 403 
  P298   Railroad Co. Statement of Income 2012 Budget                NPBL017933        NPBL017952     Armbrust Depo. 1           SJ Statute of Limitations
         2011.06.21 T. Wilcox letter to C. Brown Re Virginia Port
         Authority - Acquisition Exemption - Norfolk and Portsmouth
         Belt Line Railroad Company - STB Docket No. FD 35532                                                                    401 or 402 - Relevance; 401,
         enclosing VPA's Motion to Dismiss Verified Notice of                                         NPBL 30(b)(6)/Moss Depo.   402, & 403  SJ Statute of
  P299   Exemption                                                   NPBL008630        NPBL008694     Summy Depo.                Limitations; 802 - Hearsay
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                                                                                                                                  401, 402, & 403  MIL Lost
                                                                                                                                  Customers; 401, 402, & 403 
                                                                                                                                  MIL Reasonable Rate; 401, 402,
                                                                                                                                  & 403  SJ Statute of
         2011.07.02 Email Chain Re Port Authority seeks to expand                                                                 Limitations; 602 - Foundation;
  P300   rail capacity at NIT HamotionRaods.com PilotOnline.com       CSXT0086684                      Kendall Depo. Ex. 13       802 - Hearsay

                                                                                                                                  401, 402, & 403  MIL Internal
                                                                                                                                  Emails; 401, 402, & 403  not
                                                                                                       Stinson Depo.              relevant to show conspiracy &
                                                                                                       Summy Depo.                unfairly prejudicial; 401, 402, &
  P301   2011.09.14 Email Chain Re Called Meeting                     NSR_00072644     NSR_00072647    Wheeler Depo. Ex. 1        403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                  401 or 402 - Relevance; 401,
                                                                                                                                  402, & 403  not relevant to
                                                                                                                                  show conspiracy & unfairly
                                                                                                                                  prejudicial; 401, 402, & 403 
                                                                                                                                  SJ Statute of Limitations; 403 -
  P302   2011.09.19 NPBL Board of Directors Meeting Minutes           NPBL015164       NPBL015164                                 Cumulative
                                                                                                                                  106 - Completeness; 401 or 402 -
                                                                                                                                  Relevance; 401, 402, & 403  SJ
         2011.09.20 Email Chain Re Phoenix Rising - APL Proposal      NSR_00297104                                                Statute of Limitations; 602 -
  P303   APL Proposal Letter"                                         NSR_00297127     NSR_00297134    McClellan Depo.2           Foundation
  P304   Withdrawn
                                                                                                                                  401 or 402 - Relevance; 401,
                                                                                                                                  402, & 403  not relevant to
                                                                                                                                  show conspiracy & unfairly
                                                                                                                                  prejudicial; 401, 402, & 403 
                                                                                                                                  SJ Statute of Limitations; 802 -
  P305   2011.09.29 Email Chain FW Ford                               NPBL011659       NPBL011660      Coleman Depo.              Hearsay
                                                                                                                                  401, 402, & 403  SJ Statute of
  P306   2011.10.18 Email Chain Re Conversations with Jeff K          NSR_00030758     NSR_00030759    McClellan Depo. 1          Limitations; 802 - Hearsay
                                                                                                                                  401, 402, & 403  SJ Statute of
                                                                                                       Heller Depo. 2             Limitations; 401, 402 --
  P307   2011.12.12 Email Chain Re Portlock Personnel                 NSR_00114522                     McClellan Depo.2           Relevance
                                                                                                                                  106 - Completeness; 401 or 402 -
         2012.01.04 Email Re International Kickoff Presentation                                                                   Relevance; 401, 402, & 403  SJ
  P308   attaching presentation                                       NSR 00156707     NSR 00156732    Heller Depo. 2             Statute of Limitations
  P309   2012.04.16 Aerial Photograph of NIT                          VPA000863
                                                                                                                                  401 or 402 - Relevance; 401,
         2012.08.06 Email Chain Re Meeting with VPA, Perdue re                                                                    402, & 403  SJ Statute of
  P310   PMT                                                          NSR_00012049     NSR_00012052                               Limitations; 602 - Foundation
                                                                                                                                  106 - Completeness; 401 or 402 -
         2012.08.14 Email Chain FW VPA Port Competitive Analysis                                                                  Relevance; 401, 402, & 403  SJ
  P311   attaching analysis                                      NSR_00082081          NSR_00082104    Heller Depo. 1             Statute of Limitations
         2012.08.29 Email Chain Re Meeting with VPA, Purdue re                                                                    401, 402, & 403  SJ Statute of
  P312   PMT                                                     NSR 00065318          NSR 00065320                               Limitations 802 - Hearsay
                                                                                                                                  401 or 402 - Relevance; 401,
                                                                                                                                  402, & 403  SJ Statute of
  P313   2012.09.12 Email Re Port Deliberations                      NSR 00306010      NSR 00306011    McClellan Depo.2           Limitations 802 - Hearsay
         2012.09.13 Email Chain FW Talking Points attaching talking                                    Heller Depo. 2             401, 402, & 403  SJ Statute of
  P314   points for 9/14/12 CWM w/Gov. McDonnell                     NSR_00169772      NSR_00169774    McClellan Depo.2           Limitations; 802 - Hearsay
         2012.09.14 Email Chain FW Telephone call with Gov.                                                                       106 - Completeness; 401 or 402 -
         McDonnell attaching Port Statistics 2000-YTD, Talking Point                   NSR_00169771 -                             Relevance; 401, 402, & 403  SJ
  P315   CWM and Gov, and VY 2011 Lines on APM deal                  NSR_00169766      Native         Heller Depo. 2              Statute of Limitations
         2013.01.11 Email Re IM Auto Kickoff 2013 Final.pptx                                                                      401, 402, & 403  SJ Statute of
         attaching Intermodal & Automotive Marketing - Fast Track                                                                 Limitations; 401, 402 --
  P316   2013 - Redefining Our Business                              NSR_00168251      NSR_00168296    McClellan Depo.2           Relevance
         2013.02.03 Email Chain Re VMA Contracts Port of Virginia                                      Heller Depo. 1             401, 402, & 403  SJ Statute of
  P317   Led USEC Peers in Growth in 2012                            NSR_00072044      NSR_00072047    McClellan Depo. 1          Limitations; 802 - Hearsay
                                                                                                       NPBL013370-71
                                                                                                       Coleman Depo.
         2013.02.22 S. Clark Letter to NPBL Board of Directors Re                                      NPBL 30(b)(6)/Moss Depo.   401, 402, & 403  SJ Statute of
  P318   NPBL and AgriBusiness                                        NPBL000324       NPBL000325      Wheeler Depo.              Limitations; 802 - Hearsay

                                                                                                                                  401, 402, & 403  SJ Statute of
                                                                                                                                  Limitations; 403 - Cumulative;
         2013.04.02 Email Chain Fw Statement of Governor                                                                          602 - Foundation; 802 -
  P319   McDonnel on Port PPTA Decision and Restructuring               NSR_00178176   NSR_00178178    McClellan Depo.2           Hearsay; 805 - Double Hearsay
         2013.07.17 Email Re ITI July 2013 - MRM wo pics.pptx
         attaching Innovation and Leadership for Freight Transportation
         Systems - Intermodal Transportation Institute - University of                                                            401, 402, & 403  SJ Statute of
  P320   Denver                                                         NSR_00264181   NSR_00264214    McClellan Depo.2           Limitations
                                                                                                       Martinez Depo.
                                                                                                       McClellan Depo. 1          401, 402, & 403  SJ Statute of
  P321   2013.08.29 Email Chain Re NIT                                NSR_00029473                     NSR 30(b)(6) Hunt          Limitations

         2014.01.03 Email Re CSX operating plan for PMT attaching                                                                 401, 402, & 403  SJ Statute of
  P322   Portsmouth Marine Terminal / CSXT Rail Service Plan      NPBL019693           NPBL019697      Martinez Depo.             Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
  P323   2014.02.06 Email Chain Re VIT Action                         NSR_00130077     NSR_00130078    Heller Depo. 2             Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
  P324   2014.02.10 Email Chain Re Update                             NSR 00130061     NSR 00130064    Heller Depo. 2             Limitations 802 - Hearsay
                                                                                                                                  401, 402, & 403  SJ Statute of
  P325   2014.02.27 J. Heller letter to J. Ruddy                      NSR_00048150     NSR_00048151    Heller Depo. 1             Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
  P326   2014.04.14 Email Re VMA Meeting                              NSR_00004864                     Heller Depo. 1             Limitations

         2014.05.14 Email Chain FW Support Track at QM Junction
         NIT - Pictures taken January 15th, 2013 attaching Track Loop                                                             106 - Completeness; 401 or 402 -
         Map, QM Junction looking southeast, QM Junction looking                                       C. Booth Depo.             Relevance; 401, 402, & 403  SJ
  P327   southeast and QM Junction looking northwest                  NSR 00292965     NSR 00292968    Heller Depo. 2             Statute of Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
         2014.10.09 Email Chain Re Master Rail Plan for the Port of                                                               Limitations; 602 - Foundation;
  P328   Virginia                                                     CSXT0130615      CSXT0130618     Kendall Depo. Ex. 15       802 - Hearsay
                                                                                                                                  401, 402, & 403  SJ Statute of
  P329   2014.12.09 Email Chain Re Rate Increase Discussion           NSR_00083194     NSR_00083197    Luebbers Depo. 1           Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
  P330   2014.12.10 Minutes of the Board of Directors meeting         NPBL000372       NPBL000377      Hurlbut Depo.              Limitations
                                                                                                                                  401, 402, & 403  SJ Statute of
  P331   2014.12.10 NPBL Board Meeting                                NSR 00034633     NSR 00034651    Hurlbut Depo.              Limitations
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         2015.02.17 Email from Jeffrey Heller to Don Seale & James
         Squires Re February 19 Forecast Meeting, with Attachment                                                         401 or 402 - Relevance; 401,
         'IM Business Review 021915.pdf' of 2/19/2015 Intermodal                                                          402, & 403  SJ Statute of
  P332   Business Review PowerPoint Presentation                     NSR_00128851    NSR_00128877                         Limitations

                                                                                                                          401, 402, & 403  SJ Statute of
         2015.03.01 Master Equipment Run-Through Agreement                                                                Limitations; 401, 402, & 403 
  P333   between CSXT and CWRY                                       CSXT0048370     CSXT0048385    CSXT 30(b)(6) Depo.   Reasonable Rate / Relevancy
                                                                                                    Heller Depo. 1        401, 402, & 403  SJ Statute of
  P334   2015.03.02 Email Chain Re Question for next week            NSR_00016596    NSR_00016600   Luebbers Depo. 1      Limitations
                                                                                                                          401, 402, & 403  SJ Statute of
         2015.03.09 Email Chain Re Long Idling Rail Containers at                                                         Limitations; 602 - Foundation;
  P335   Norfolk CSX Ramp                                            CSXT0036382     CSXT003684     VIT 30(b)(6) Depo.    802 - Hearsay
                                                                                                                          401, 402, & 403  SJ Statute of
  P336   2015.03.27 Email Chain Re IM Auto Friday Freight            NSR 00128765    NSR 00128766   Heller Depo. 2        Limitations

                                                                                                                          401, 402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
                                                                                                                          403  SJ Statute of Limitations;
  P337   2015.03.30 Email Chain Re CSX- NIT                          NSR_00001419    NSR_00001420                         802 - Hearsay                     NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                          401, 402, & 403  not relevant
                                                                                                                          to show conspiracy & unfairly
                                                                                                                          prejudicial; 401, 402, & 403 
                                                                                                                          SJ Statute of Limitations; 403 -
                                                                                                                          Cumulative; 602 - Foundation;
  P338   2015.03.31 C. Booth letter Re NIT one time access - Clean 1 NSR_00000870    NSR_00000871                         802 - Hearsay
                                                                                                                          401 or 402 - Relevance; 401,
                                                                                                                          402, & 403  not relevant to
                                                                                                                          show conspiracy & unfairly
                                                                                                                          prejudicial; 401, 402, & 403 
                                                                                                                          SJ Statute of Limitations; 403 -
                                                                                                                          Cumulative; 602 - Foundation;
  P339   2015.03.31 C. Booth letter Re NIT one time access - Clean 2 NSR_00001412    NSR_00001413                         802 - Hearsay

                                                                                                                          401 or 402 - Relevance; 401,
                                                                                                                          402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
                                                                                                                          403  SJ Statute of Limitations;
                                                                                                                          403 - Cumulative; 602 -
  P340   2015.03.31 C. Booth letter Re NIT one time access - Redline 1NSR_00000868   NSR_00000869   NSR_00001414-15       Foundation; 802 - Hearsay         NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                          401 or 402 - Relevance; 401,
                                                                                                                          402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
                                                                                                                          403  SJ Statute of Limitations;
                                                                                                                          403 - Cumulative; 602 -
  P341   2015.03.31 C. Booth letter Re NIT one time access - Redline 2NSR_00001409   NSR_00001410                         Foundation; 802 - Hearsay         NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                          401 or 402 - Relevance; 401,
                                                                                                                          402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
                                                                                                                          403  SJ Statute of Limitations;
                                                                                                                          403 - Cumulative; 602 -
  P342   2015.03.31 C. Booth letter Re NIT one time access - Redline 3NSR_00001417   NSR_00001418                         Foundation; 802 - Hearsay         NPBL MIL #1; NS MIL (D.E. 337)
         2015.03.31 Email Chain Re CSX Traffic to NIT via NPBL -                                                          401, 402, & 403  SJ Statute of
  P343   C. Booth                                                     NSR_00039751   NSR_00039753   C. Booth Depo.        Limitations
                                                                                                                          401, 402, & 403  SJ Statute of
  P344   2015.03.31 Email Chain Re NIT Train                         CSXT0001301                    MacDonald Depo.       Limitations 802 - Hearsay

                                                                                                                          401 or 402 - Relevance; 401,
                                                                                                                          402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
                                                                                                                          403  SJ Statute of Limitations;
  P345   2015.03.31 Email re CSX Train to NIT                        NSR_00001406    NSR_00001407                         403 - Cumulative; 802 - Hearsay NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                          401, 402, & 403  not relevant
                                                                                                                          to show conspiracy & unfairly
                                                                                                                          prejudicial; 401, 402, & 403 
  P346   2015.04.01 Email Chain Re CSX Traffic to NIT via NPBL - 1 NSR 00039781      NSR 00037983   Heller Depo. 1        SJ Statute of Limitations
                                                                                                                          401, 402, & 403  SJ Statute of
  P347   2015.04.01 Email Chain Re CSX Traffic to NIT via NPBL - 2 NPBL010906        NPBL010910     C. Booth Depo.        Limitations
  P348   Withdrawn

         2015.04.02 Email Chain Re [EXTERNAL] Re CSX Traffic                                                              401, 402, & 403  SJ Statute of
  P349   to NIT via NPBL                                             NPBL010896      NPBL010899     C. Booth Depo.        Limitations 403 - Cumulative

                                                                                                                          401, 402, & 403  MIL Internal
                                                                                                                          Emails; 401, 402, & 403  not
                                                                                                                          relevant to show conspiracy &
                                                                                                                          unfairly prejudicial; 401, 402, &
  P350   2015.04.02 Email Chain Re NPBL Recap                        NSR 00001402    NSR 00001403   C. Booth Depo.        403  SJ Statute of Limitations NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                                          401, 402, & 403  not relevant
                                                                                                                          to show conspiracy & unfairly
                                                                                                                          prejudicial; 401, 402, & 403 
  P351   2015.04.03 Email Chain Re [EXTERNAL] CSX                    NSR_00001401                   C. Booth Depo.        SJ Statute of Limitations
                                                                                                                          401, 402, & 403  SJ Statute of
  P352   2015.04.06 Email Re 2nd X train to NIT                      CSXT0001321                    MacDonald Depo.       Limitations 802 - Hearsay
                                                                                                    Hurlbut Depo.         401, 402, & 403  SJ Statute of
  P353   2015.04.06 Minutes of the Board of Director's Meeting       NPBL000467      NPBL000468     Wheeler Depo.         Limitations
         2015.04.12 Email Chain Re Requesting profile from NIT-                                                           401, 402, & 403  SJ Statute of
  P354   NPBL-CSX Portsmouth to NWOH double stack                    CSXT0010598                    MacDonald Depo.       Limitations; 802 - Hearsay
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                                                                                                                              401, 402, & 403  SJ Statute of
                                                                                                                              Limitations; 602 - Foundation;
  P355   2015.04.13 Email Chain Re NIT / CMA TRAFFIC                CSXT0001348                    MacDonald Depo.            802 - Hearsay

                                                                                                                              401, 402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
                                                                                                                              relevant to show conspiracy &
         2015.04.17 Email Chain FW another NPBL request and                                                                   unfairly prejudicial; 401, 402, &
  P356   possible call to TNE                                       NSR_00001399                   C. Booth Depo.             403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                                              401, 402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
                                                                                                                              relevant to show conspiracy &
         2015.04.17 Email Chain FW NPBL request for a window to                                                               unfairly prejudicial; 401, 402, &
  P357   run to NIT attaching 4/17/15 C. Moss Letter to J. Yates    NSR_00001395    NSR_00001398   C. Booth Depo.             403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
         2015.04.19 Email Chain Re CSX move request--UPDATE;                                                                  401, 402, & 403  SJ Statute of
  P358   Information Only                                           CSXT0154004     CSXT0154005    MacDonald Depo.            Limitations; 802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
  P359   2015.04.23 Email Chain Re CSX Cars for NIT Delivered 4/23 NPBL005662       NPBL005664     NPBL 30(b)(6)/Moss Depo.   Limitations
                                                                                                                              401 or 402 - Relevance; 401,
                                                                                                                              402, & 403  not relevant to
                                                                                                                              show conspiracy & unfairly
                                                                                                                              prejudicial; 401, 402, & 403 
                                                                                                                              SJ Statute of Limitations; 802 -
  P360   2015.05.15 Email Re Thanks again                           NPBL010882      NPBL010882                                Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
  P361   2015.05.22 Email Chain Re Plain for CSX Loading            CSXT0154048                    VIT 30(b)(6) Depo.         Limitations; 802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
  P362   2015.05.27 Email Chain Re Empties for NIT                  CSXT0001528     CSXT0001529    MacDonald Depo.            Limitations; 802 - Hearsay

                                                                                                                              401 or 402 - Relevance; 401,
                                                                                                                              402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
                                                                                                                              relevant to show conspiracy &
                                                                                                                              unfairly prejudicial; 401, 402, &
  P363   2015.05.30 Email Re NPBL Trackage Rights                    NSR_00004475                  Heller Depo. 1             403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
         2015.06.02 Email Re Letter from Perdue attaching 5/27/15 S.                                                          401, 402, & 403  SJ Statute of
  P364   Clark letter to C. Moss                                     NSR_00077508   NSR_00077510   Wheeler Depo.              Limitations; 802 - Hearsay

                                                                                                                              401, 402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
         2015.06.12 Email from Michael McClellan to Rob Robinson,                                                             relevant to show conspiracy &
         Pat Simonic, John Kraemer, Scott McGregor, & Jim Schaaf Re                                                           unfairly prejudicial; 401, 402, &
  P365   Personnel - Confidential                                   NSR_00071467    NSR_00071467   McClellan Depo. 1          403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                   CSXT0005019                401, 402, & 403  SJ Statute of
  P366   2015.06.23 Email Chain Re CSX move                         NPBL005643      NPBL005644     NPBL 30(b)(6)/Moss Depo.   Limitations
                                                                                                                              401, 402, & 403  SJ Statute of
                                                                                                                              Limitations; 602 - Foundation;
  P367   2015.06.23 Email Chain Re CSXT Rail Cars at NIT - 1        CSXT0154056     CSXT0154057    VIT 30(b)(6) Depo.         802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
                                                                                                                              Limitations; 602 - Foundation;
  P368   2015.06.23 Email Chain Re CSXT Rail cars at NIT - 2        CSXT0039176     CSXT0037177    VIT 30(b)(6) Depo.         802 - Hearsay

                                                                                                                              401, 402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
                                                                                                                              relevant to show conspiracy &
                                                                                                                              unfairly prejudicial; 401, 402, &
  P369   2015.06.26 Email Chain Re NPBL Trackage Rights             NSR 00004472    NSR 00004473   Heller Depo. 1             403  SJ Statute of Limitations NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                                              401, 402, & 403  SJ Statute of
  P370   2015.06.29 Email Chain Re CSX Cars                         CSXT0154066     CSXT0154068                               Limitations; 802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
  P371   2015.07.15 Email Chain Re Large TEU Ships                  NSR_00129287    NSR_00129290   Heller Depo. 1             Limitations
                                                                                                                              401, 402, & 403  SJ Statute of
  P372   2015.10.07 Email Chain FW CSX lift agreement               CSXT0040736                    Houfek Depo.               Limitations 802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
  P373   2015.10.26 Email Chain Re CWRY Rate Increase               NSR_00039157    NSR_00039160   C. Booth Depo.             Limitations
                                                                                                                              401 or 402 - Relevance; 401,
                                                                                                                              402, & 403  MIL Reasonable
                                                                                                                              Rate; 401, 402, & 403  SJ
         2015.12.02 Email Chain FW Amendment #1 / Loco Use                                                                    Statute of Limitations; 602 -
  P374   Agreement and attachment                                   NSR_00110125    NSR_00110130                              Foundation

                                                                                                   Hurlbut Depo.              401, 402, & 403  SJ Statute of
  P375   2015.12.09 Minutes of the Board of Directors meeting       NPBL000463      NPBL000466     Wheeler Depo.              Limitations; 403 - Cumulative
                                                                                                                              106 - Completeness; 401 or 402 -
         2015.12.15 Email Re December meeting minutes attaching                                    Kendall Depo.              Relevance; 401, 402, & 403  SJ
  P376   12/9/15 minutes of the Board of Directors meeting          CSXT0133116     CSXT0133120    Swafford Depo.             Statute of Limitations
                                                                                                                              401, 402, & 403  SJ Statute of
  P377   2015.12.16 Email Chain Re Follow-up                        NSR_00122609    NSR_00122611   C. Booth Depo.             Limitations
                                                                                                                              106 - Completeness; 401, 402,
                                                                                                                              & 403  SJ Statute of
  P378   2015.5.21 Email Chain Re Plan for CSX Loading              CSXT0004998                    MacDonald Depo.            Limitations; 802 - Hearsay
                                                                                                                              401, 402, & 403  SJ Statute of
                                                                                                                              Limitations; 602 - Foundation;
  P379   2015.5.22 Email Chain Re Plan for CSX Loading              CSXT0005000     CSXT0005002    VIT 30(b)(6) Depo.         802 - Hearsay
         2016.01.26 Email Re Consent for 2016 Budget and Bonus                                                                401, 402, & 403  SJ Statute of
  P380   Program                                                    NPBL024618      NPBL024619     Merilli Depo.              Limitations
                                                                                                                              401, 402, & 403  SJ Statute of
  P381   2016.01.30 Email Chain Re MOL Discussions                  NSR_00005440    NSR_00005442   Heller Depo. 1             Limitations
         2016.02.26 Email Re Squires Port Briefing attaching East                                                             401, 402, & 403  SJ Statute of
  P382   Coast Ports Review                                         NSR_00064063    NSR_00064095   Luebbers Depo. 1           Limitations

                                                                                                                              401, 402, & 403  MIL Internal
                                                                                                                              Emails; 401, 402, & 403  not
                                                                                                                              relevant to show conspiracy &
         2016.03.15 Email Chain Fw NIT Expansion - Pilot Article                                                              unfairly prejudicial; 401, 402, &
  P383   3/15                                                       NSR_00054868    NSR_00054869   Luebbers Depo. 1           403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
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                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
         2016.03.15 Meeting Invitation from Carol Sensing to Carol                                  Heller Depo. 1             relevant to show conspiracy &
         Sensing, Ed Elkins, Chris Luebbers, & Kenneth Joyner Re                                    Luebbers Depo. 1           unfairly prejudicial; 401, 402, &
  P384   Review Strategy Regarding NIT Access                        NSR 00005173   NSR 00005173    NSR 30(b)(6) Joyner        403  SJ Statute of Limitations NPBL MIL #1 NS MIL (D.E. 337)
                                                                                                    Luebbers Depo. 1           401, 402, & 403  SJ Statute of
  P385   2016.04.18 Email Chain Re NS/VIT Meeting Friday April 8th NSR_00001680     NSR_00001682    NSR 30(b)(6) Joyner        Limitations
  P386   Withdrawn
         2016.04.26 Email Chain FW Additional information for
         updates during Meeting attaching liability quote and 4/26/16                               Kendall Depo.              401, 402, & 403  SJ Statute of
  P387   R. Hunt letter to C. Moss                                    CSXT0133903   CSXT0133909     Swafford Depo.             Limitations 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                    C. Booth Depo.             relevant to show conspiracy &
                                                                                                    NPBL 30(b)(6)/Moss Depo.   unfairly prejudicial; 401, 402, &
  P388   2016.07.01 Email Chain Re NPBL and NIT switching            NSR_00001460                   NSR 30(b)(6) Hunt          403  SJ Statute of Limitations NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  SJ Statute of
  P389   2016.07.13 Email Chain Re Bank accounts                     NSR_00077218                   Merilli Depo.              Limitations

                                                                                                                               106 - Completeness; 401, 402,
                                                                                                    Strongosky Depo. 1         & 403  MIL Reasonable Rate;
  P390   2016.10.12 Email Re VA letter.docx                          CSXT0096238    CSXT0096238     Warren Depo. Ex. 24        602 - Foundation 802 - Hearsay
  P391   2016.11.16 Aerial Photograph of NIT                         VPA000864
         2016.11.16 Email Chain Re CSX Visit to Norfolk on                                          VPA 30(b)(6) Depo.         401 or 402 - Relevance; 802 -
  P392   November 22                                                 CSXT0049507    CSXT0049510     Warren Depo.               Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  MIL Reasonable
                                                                                                                               Rate; 401, 402, & 403  SJ
                                                                                                                               Statute of Limitations; 602 -
  P393   2016.11.30 Confidential, Hampton Roads Port / Rail Review   NSR_00104571   NSR_00104580    Luebbers Depo. 2           Foundation; 802 - Hearsay
         2016.12.02 Email Chain Re OOCL Eastern Railroad
  P394   Volumes/Zim Volumes                                         CSXT0002920    CSXT0002925     Houfek Depo.               802 - Hearsay
         2016.12.05 Email chain Re FOR DEAN  Lane / Volume                                                                    106 - Completeness; 802 -
  P395   Opportunities                                               CSXT0050219    CSXT0050221                                Hearsay
                                                                                                    Hurlbut Depo.
  P396   2016.12.07 NPBL Board Meeting Agenda                        NPBL000541     NPBL000551      Merilli Depo.

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                                               Emails; 401, 402, & 403  not
                                                                                                                               relevant to show conspiracy &
                                                                                                                               unfairly prejudicial; 602 -
  P397   2016.12.20 Email Re NPBL Discussion                         NSR_00024527   NSR_00024527                               Foundation; 802 - Hearsay      NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                    Armbrust Depo. 1
  P398   2017 NPBL Annual Report                                     CSXT0149080    CSXT0149100     M. Burns Depo. 1           403 - Cumulative
         2017.01.13 Email Chain RE Contract Update Week Ending                                                                 106 - Completeness; 802 -
  P399   01/06/2017                                                  CSXT0051809    CSXT0051811                                Hearsay
         2017.02.15 Email Chain Re New Alliance Structure at
  P400   Norfolk Ports                                               VPA000079      VPA000080                                  602 - Foundation; 802 - Hearsay
  P401   2017.04.05 NPBL Board Meeting Agenda                        NPBL000562     NPBL000572
                                                                                                                               401 or 402 - Relevance; 602 -
  P402   2017.04.11 Email Chain Re NPBL Question                  NSR_00076988      NSR_11176989    Coleman Depo.              Foundation
         2017.05.03 Email Chain FW Craney Island Rail Connector -                                                              401 or 402 - Relevance; 602 -
  P403   Virginia Port Authority                                  NSR_00038855      NSR_00038857    Heller Depo. 1             Foundation
                                                                                                                               401 or 402 - Relevance; 602 -
  P404   2017.06.19 Email chain re Philly draft with attachment      NSR_00066775   NRS_0066787                                Foundation
         2017.06.27 Email Chain FW CSX Shared Points attaching                      CSXT00009573 -
  P405   CSX Shared Points                                           NSR_00009572   Native         Hall Depo.                  106 - Completeness
                                                                                                                               106 - Completeness; 401, 402,
                                                                                                                               & 403  MIL Reasonable Rate;
                                                                                                                               401, 402, & 403  SJ Statute of
                                                                                                                               Limitations; 602 - Foundation;
  P406   2018.01.22 Email Chain Re NPBL Package                      CSXT0098946                                               802 - Hearsay
  P407   2017.11.29 Aerial Photograph of NIT                         VPA000868
  P408   2018 NPBL Annual Report                                     CSXT0123240    CSXT0123261     M. Burns Depo. 1           403 - Cumulative
  P409   2018.01.15 Kline - Singapore presentation                   NSR_00009598   NSR_00009617    NSR 30(b)(6) Joyner        401 or 402 - Relevance
         2018.03.02 Email Re Europe presentations attaching                                                                    106 - Completeness; 401 or 402 -
  P410   presentations                                               NSR_00006107   NSR_00006174    NSR 30(b)(6) Joyner        Relevance
         2018.03.07 Email Re Intermodal Activity Report - Week                                                                 401 or 402 - Relevance; 602 -
  P411   Ending 3/2/18                                               NSR 00001053   NSR 00001056    NSR 30(b)(6) Joyner        Foundation 802 - Hearsay

                                                                                                                               401, 402, & 403  MIL Internal
                                                                                                    Hurlbut Depo.              Emails; 401, 402, & 403  not
         2018.03.27 Email Chain Re Rate Proposal for Long Term                                      Merilli Depo.              relevant to show conspiracy &
  P412   Intermodal service to NIT                                   NSR_00076482                   Summy Depo.                unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                               401, 402, & 403  not relevant
         2018.04.02 Email Chain FW Rate Proposal for Long Term                                                                 to show conspiracy & unfairly
  P413   Intermodal service to NIT                                   CSXT0119620    CSXT0119621     Swafford Depo.             prejudicial; 802 - Hearsay
                                                                                                    Hall Depo.
         2018.04.05 Email Chain Re Board and Stockholder Docket for                                 Hurlbut Depo.
  P414   April 18, 2018 meeting                                     NPBL006179                      Merilli Depo.
                                                                                                    Coleman Depo.
                                                                                                    Hall Depo.
                                                                                                    Hurlbut Depo.              401, 402, & 403  not relevant
         2018.04.05 Email Chain Re Rate Proposal for Long Term Rail                                 Merilli Depo.              to show conspiracy & unfairly
  P415   Service to NIT                                             NPBL006228      NPBL006229      NPBL 30(b)(6)/Moss Depo.   prejudicial
  P416   2018.04.09 Email Chain Re CSX Securing NIT Access          VPA000074                       VPA 30(b)(6) Depo.         802 - Hearsay
         2018.04.12 Email Chain FW Board and Stockholder Docket
  P417   for April 18, 2018 meeting                                 NPBL005958      NPBL005959      Hall Depo.
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  MIL Reasonable
                                                                                                                               Rate; 403 - Cumulative; 403 -
                                                                                                                               Unfairly Prejudicial; 602 -
         2018.04.13 Email Chain FW [External] FW Letter to NPBL                                                                Foundation; 802 - Hearsay; 901 -
  P418   from POV                                               NSR_00076457        NSR_00076458    Merilli Depo. Ex. 24       Authentication
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  MIL Reasonable
                                                                                                                               Rate; 403 - Cumulative; 403 -
                                                                                                                               Unfairly Prejudicial; 602 -
         2018.04.13 Email Chain FW [External] FW Letter to NPBL                                     Heller Depo. 1             Foundation; 802 - Hearsay; 901 -
  P419   from POV attaching 4/13/18 J. Reinhart letter to C. Moss NSR_00076457      NSR_00076462    Summy Depo.                Authentication
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                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Reasonable
                                                                                                                                Rate; 403 - Cumulative; 403 -
                                                                                                                                Unfairly Prejudicial; 602 -
         2018.04.13 Email Re NPBL Letter attaching Draft 4/13/18 J.                                                             Foundation; 802 - Hearsay; 901 -
  P420   Reinhart letter to C. Moss                                 VPA001846         VPA001848      VPA 30(b)(6) Depo.         Authentication
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Reasonable
                                                                                                                                Rate; 403 - Cumulative; 403 -
                                                                                                                                Unfairly Prejudicial; 602 -
         2018.04.13 Email Re Revised letter to Canon attaching                                                                  Foundation; 802 - Hearsay; 901 -
  P421   DRAFT 4/13/18 J. Reinhart letter to C. Moss                   VPA001849      VPA001850      VPA 30(b)(6) Depo.         Authentication
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Reasonable
                                                                                                                                Rate; 403 - Cumulative; 403 -
                                                                                                                                Unfairly Prejudicial; 602 -
         2018.04.13 Email Re to print for John's signature attaching                                                            Foundation; 802 - Hearsay; 901 -
  P422   4/13/18 Reinhart letter to C. Moss                            VPA001852      VPA001854      VPA 30(b)(6) Depo.         Authentication
         2018.04.17 Email Chain Fw 041318-Cannon Moss.pdf                                                                       106 - Completeness; 401 or 402 -
  P423   attaching 4/13/18 J. Reinhart letter to C. Moss               NSR_00066919   NSR_000663921 Martinez Depo.              Relevance

         2018.04.17 G. Summy letter to S. Armbrust Re Norfolk                                        Hall Depo.
         Southern Railway Company ("NSR") Response as NPBL                                           Hurlbut Depo.              401, 402, & 403  not relevant
         Shareholder to CSX Transportation's ("CSXT") Demand Letter                                  Merilli Depo.              to show conspiracy & unfairly
         dated April 6, 2018 (the "Demand Letter"), and subsequent                                   NPBL 30(b)(6)/Moss Depo.   prejudicial; 802 - Hearsay as to
  P424   letter dated April 16, 2018 (the "Supplemental Letter")    NSR_00035194      NSR_00035197   Summy Depo.                attachment
  P425   2018.04.18 Agenda NPBL Annual Stockholders' Meeting        NPBL006212        NPBL006213     Hall Depo.
                                                                                                     Hall Depo.
                                                                                                     Hurlbut Depo.
  P426   2018.04.18 Agenda NPBL Board Meeting                          NPBL006201     NPBL006211     Merilli Depo.              403 - Cumulative
                                                                       NPBL000749     NPBL000756
                                                                       NPBL000759     NPBL000760
  P427   2018.04.18 Meeting Minutes                                    NPBL000745     NPBL000747     Coleman Depo.
                                                                                                                                106 - Completeness; 802 -
  P428   2018.04.19 Email Chain Re NPBL Agreement Questions            NPBL005881     NPBL005883     NPBL 30(b)(6)/Moss Depo.   Hearsay
                                                                                                                                401 or 402 - Relevance; 802 -
  P429   2018.04.19 Email Chain Re Quick Question on VPA               NSR 00017888                  McClellan Depo. 1          Hearsay
         2018.04.19 Email Re NPBL response to Letter from POV                                                                   401, 402, 403 - Relevance; 403 -
  P430   attaching 4/19/18 C. Moss letter to J. Reinhardt              VPA000001      VPA000002      VPA 30(b)(6) Depo.         Cumulative; 802 Hearsay
  P431   2018.04.27 Email Chain Fw NPBL Executed Consent               NSR_00076434                  Merilli Depo.              802 - Hearsay
                                                                                                     Hall Depo.
                                                                                                     Hurlbut Depo.
                                                                                                     Merilli Depo.
         2018.04.30 Email Re Draft Minutes, attaching draft 4/18/18                                  NPBL 30(b)(6)/Moss Depo.
  P432   minutes of the Board of Directors meeting                     CSXT0101964    CSXT0101977    Summy Depo.                802 - Hearsay
  P433   2018.05.02 Email Chain Re February 2018 Verified Lifts        NSR_00005961   NSR_00005968   NSR 30(b)(6) Joyner
         2018.06.03 Email Chain Re [EXTERNAL} NPBL board
  P434   meeting planning                                              NSR_00073119   NSR_00073119   Merilli Depo.              401 or 402 - Relevance
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Lost
                                                                                                                                Customers; 602 - Foundation;
  P435   2018.06.27 Email Re CSX Thanks Port of Virginia               VPA000078                     VPA 30(b)(6) Depo.         802 - Hearsay
  P436   2018.06.29 Email Chain Re AV Study with attachment            NSR_00203550   NSR_00203553   McClellan Depo.2           401 or 402 - Relevance
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Lost
                                                                                                                                Customers; 602 - Foundation;
  P437   2018.07.16 Email chain re Evergreen                           CSXT0067122    CSXT0067128                               802 - Hearsay
                                                                                                                                401 or 402 - Relevance; 401,
                                                                                                                                402, & 403  MIL Diamond
                                                                                                     VIT 30(b)(6) Depo.         Track; 602 - Foundation; 802 -
  P438   2018.07.20 Email Chain Re Meeting Notes                       CSXT0067164    CSXT0067166    CSXT 30(b)(6) Depo.        Hearsay
                                                                                                                                401, 402, & 403  MIL
         2018.07.20 Email Chain Re Meeting Notes attaching 7/13/18                                                              Diamond Track; 602 -
  P439   meeting notes                                             CSXT0067204        CEXT0067209    VIT 30(b)(6) Depo.         Foundation; 802 - Hearsay
                                                                                                                                401, 402, & 403  MIL
                                                                                                                                Diamond Track; 602 -
  P440   2018.07.23 Email Chain Re Meeting Notes                       CSXT0067237    CSXT0067240    VIT 30(b)(6) Depo.         Foundation; 802 - Hearsay
                                                                                                                                401, 402, & 403  MIL
                                                                                                                                Diamond Track; 602 -
  P441   2018.07.24 Email Chain Re Meeting Notes                       CSXT0067254                   VIT 30(b)(6) Depo.         Foundation; 802 - Hearsay

                                                                                                                                401, 402, & 403  MIL Internal
                                                                                                                                Emails; 401, 402, & 403  not
         2018.08.01 Email Chain Re CSX access into NIT (Heller to                                                               relevant to show conspiracy &
  P442   Joyner)                                                       NSR_00049537                  Heller Depo. 1             unfairly prejudicial           NPBL MIL #1; NS MIL (D.E. 337)
         2018.08.01 Email Re Notes from meeting on July 13 in                                        VIT 30(b)(6) Depo.
  P443   Norfolk                                                       CSXT0121480    CSXT0124183    VPA 30(b)(6) Depo.         802 - Hearsay
                                                                                                     Hall Depo. Ex. 5
         2018.08.27 Email Re Update on negotiations with NS over                                     Hurlbut Depo.
  P444   trackage rights                                               NPBL005850                    Merilli Depo.

         2018.09.06 Email Chain Re SSW Trackage Rights Cases (1 of                                                              401, 402, & 403  MIL
  P445   2)                                                        CSXT0155378        CSXT0155379    Armbrust Depo. 2           Reasonable Rate; 802 - Hearsay
                                                                                                     Coleman Depo.
                                                                                                     Hall Depo.
         2018.09.11 C. Moss Letter to S. Armbrust and G. Summy Re                                    Hurlbut Depo.              401, 402, & 403  MIL
         CSX Transportation Inc. Letter dated June 22, 2018 and                                      Merilli Depo.              Diamond Track; 401, 402, &
         Norfolk Southern Railway Company Response Letter dated                                      NPBL 30(b)(6)/Moss Depo.   403  not relevant to show
  P446   July 27, 2018                                               NPBL005840       NPBL005841     Summy Depo.                conspiracy & unfairly prejudicial
         2018.09.17 Email Chain Re [External] Re Update on
  P447   negotiations with NS over trackage rights                   NSR 00073932     NSR 00073933   Merilli Depo.              602 - Foundation
         2018.09.20 Email Chain Fw Petition To Set Terms - Final -
         Filed 9-13-18.pdf attaching 9/13/18 W. Mullins letter to C.
         Moss Re FD 36223, Norfolk Southern Railway Company -
         Petition to Set Trackage Rights Compensation - Norfolk &
  P448   Portsmouth BeltLine Railroad Company                        NSR_00049469     NSR_00049502   Wheeler Depo.              602 - Foundation

  P449   2018.10.05 Email Chain Re CSX 20' mate policy                 CSXT0069403    CSXT0096404    VIT 30(b)(6) Depo.         602 - Foundation; 802 - Hearsay

  P450   2018.10.05 Email Chain Re CSX 20' mate policy - later email CSXT0069405      CSXT0069407    VIT 30(b)(6) Depo.         602 - Foundation 802 - Hearsay
         2018.12.10 L. Farless letter to D. Coleman attaching J. Hall                                                           401 or 402 - Relevance; 602 -
  P451   resignation                                                  NSR_00073787    NSR_00073788   Hall Depo.                 Foundation
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                                                                                                        Hurlbut Depo.
                                                                                                        Merilli Depo.
  P452   2018.12.17 Minutes of the Board of Directors meeting           NPBL000730     NPBL000736       Summy Depo.

         2019.01.03 Email Chain Re [EXTERNAL] Proposed                                                                                        401 or 402 - Relevance; 602 -
  P453   Questions for SMC3 Panel Intermodal in the Post -ELD WorldNSR 00155349        NSR 00155359     Heller Depo. 2                        Foundation 802 - Hearsay

  P454   2019.01.11 Trackage Rights Map                                 VPA000920                                                             106 - Completeness
                                                                                                                                              106 - Completeness; 401, 402,
                                                                                                                                              & 403  SJ Statute of
                                                                                       CSXT0109354 -    J. Booth Depo.                        Limitations; 602 - Foundation;
  P455   2009.02.19 Email Chain Re Pro. NPBL Overview                   CSXT0109353    Native           Ingram Depo.                          802 - Hearsay
                                                                                                                                              401 or 402 - Relevance; 602 -
         2019.04.24 Agenda for Norfolk & Portsmouth Belt Line                                                                                 Foundation; 901 -
  P456   Annual Stockholders' Meeting                                   CSXT0158238    CSXT0158240                                            Authentication
  P457   2019.04.28 Email chain Re NIT Exports                          CSXT0074717    CSXT0074718      Wagel Depo. Ex. 7                     802 - Hearsay
         2019.05.13 Email Chain Re Setting up CSX for Growth at                                         VIT 30(b)(6) Depo.
  P458   POV                                                            CSXT0074914    CSXT0074916      Warren Depo.                          802 - Hearsay
         2019.07.02 T. Capozzi Letter to M. Kenney re agreement of      VIT Prod to    VIT Prod to
  P459   VIT offer for the continuation of the lift and dray services   NPBL 000005    NPBL 000006      VIT 30(b)(6) Depo.                    602 - Foundation; 802 - Hearsay
                                                                                                                                              401 or 402 - Relevance; 403 -
  P460   2019.07.06 Email Chain Re Virginia Ports Co-Marketing          NSR_00016866                    Heller Depo. 1                        Unfairly Prejudicial




  P461   Withdrawn
         2019.10.10 Email Chain Fw NS/CSX Meeting Minutes                                                                                     106 - Completeness; 401 or 402 -
  P462   1/30/18 - Preparation for meeting with Ed Harris on 2/11       NSR_00034269   NSR_00034271     McClellan Depo. 1                     Relevance
                                                                        SDT RES
  P463   2020.01.03 The Port of Virginia Advantages                     000127         SDT RES 000165 VIT 30(b)(6) Depo.                      802 - Hearsay
                                                                        SDT RES
  P464   2020.01.03 Virginia Advantages                                 000195         SDT RES 000246 VIT 30(b)(6) Depo.                      802 - Hearsay

                                                                                                        https //www.freightwaves.com/news/fr
         2021.05.25 FreightWaves Classics The Port of Virginia -                                        eightwaves-classics-the-port-of-
  P465   America's first port, Mall, Scott                                                              virginia-americas-first-port?p=340807 602 - Foundation; 802 - Hearsay

                                                                                                                                              401, 402, & 403  MIL
                                                                                                                                              Reasonable Rate; 401, 402, &
                                                                                                        Allan Depo.                           403  SJ Statute of Limitations;
  P466   April 2010 NIT Port Rail Operating Detail                   CSXT0063758       Native           Armbrust Depo. 1                      602 - Foundation; 802 - Hearsay
         Defendant Norfolk Southern Railway Company's Response to
  P467   Plaintiff's First Set of Interrogatories - Redacted version                                    C. Booth Depo.                        Subject to stated objections
                                                                                                                                              401 or 402 - Relevance; 602 -
         Draft L. Finkbiner Letter to J. Dorto Re Equipment pooling                                                                           Foundation; 901 -
  P468   arrangements at NIT                                            NSR_00199527   NSR_00199527                                           Authentication

                                                                                                                                              401, 402, & 403  SJ Statute of
  P469   EC vs. WC Profitability Analysis                               NSR 00026277   NSR 00026287     Luebbers Depo. 1                      Limitations 602 - Foundation
                                                                                                                                              401, 402, & 403  MIL
         Estimated NPBL Switching Costs - Roundtrip Between                                                                                   Reasonable Rate; 401, 402, &
  P470   Portsmouth Yd. and NIT Costs are Per Platform                  NSR 00199514                    C. Booth Depo.                        403  SJ Statute of Limitations
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -                                                                           602 - Foundation; 702 -
  P471   Exhibit 1A (Map of Hampton Roads)                              N/A            N/A                                                    Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -                                                                           602 - Foundation; 702 -
  P472   Exhibit 1B (Map of Hampton Roads)                              N/A            N/A                                                    Daubert; 802 - Hearsay
                                                                                                        Coleman Depo.
  P473   Google Earth Maps with trackage shown                          N/A            N/A              NPBL 30(b)(6)/Moss Depo.              802 - Hearsay
                                                                                                        McClellan Depo. 1
  P474   International Business Group (nscorp.com)                 N/A                 N/A              NSR 30(b)6 Joyner                     401 or 402 - Relevance
  P475   January 2015 Norfolk Southern Career Overview             NSR_00071564        NSR_00071579                                           401 or 402 - Relevance
                                                                   NPBL012259
                                                                   NPBL013210
                                                                   NPBL013013
                                                                   NPBL011710
                                                                   NPBL011398
                                                                   NSR_00077377
                                                                   NPBL010977
                                                                   NPBL010601
         Norfolk and Portsmouth Beltline Railroad Company Analysis NPBL017146                           Coleman Depo.
  P476   of Company's Financial Statement Years Ending 2010-2019 NPBL017205                             NPBL 30(b)(6)/Moss Depo.
                                                                                                        Hall Depo.
                                                                                                        Hurlbut Depo.                         401, 402, & 403  SJ Statute of
  P477   NPBL 2017 Annual Report                                        NPBL006180     NPBL006200       Merilli Depo.                         Limitations; 403 - Cumulative
                                                                        SDT RES
  P478   NS and CSX Rail Maps by The Port of Virginia                   000180         SDT RES 000181                                         602 - Foundation
                                                                                                        Armbrust Depo. 2
                                                                                                        M. Burns Depo. 2
                                                                                                        CSXT 30(b)(6) Depo.
                                                                                                        Eliasson Depo.
         Office of the Corporate Secretary - Reference Guide for                                        Kendall Depo.
  P479   Affiliate Board Service                                      CSXT0154794      CSXT0154816      Swafford Depo.                        802 - Hearsay
         Page 7 - 7/19/10 Rate Proposal & Operating/Financial Plan;                                                                           401, 402, & 403  SJ Statute of
         7/19/10 J. Booth letter to D. Stinson and D. Coleman Re Rail                                                                         Limitations; 401, 402, & 403 
         Service Connection to NIT - Rate Proposal and                                                                                        MIL Reasonable Rate; 802 -
  P480   Operating/Financial Plan                                     Unknown          Unknown          J. Booth Depo.                        Hearsay
                                                                      SDT RES
                                                                      000021
                                                                      SDT RES
                                                                      000023
                                                                      SDT RES
  P481   Photographs of NIT                                           000025                            VIT 30(b)(6) Depo.

  P482   Port of Virginia CSX Norfolk Southern                          VPA000928                                                             602 - Foundation 802 - Hearsay
                                                                                                                                              401 or 402 - Relevance; 401,
                                                                                                                                              402, & 403  SJ Statute of
         Port Strategy Integration Plan, Hampton Roads, CA & North                                                                            Limitations; 602 - Foundation;
  P483   Charleston, SC, Executive Summary                              CSXT0109871    CSXT0109844      Eliasson Depo. Ex. 3                  802 - Hearsay
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                                                                                                                               401, 402, & 403  MIL Lost
                                                                                                                               Customers; 401, 402, & 403 
                                                                                                                               MIL Reasonable Rate; 401, 402,
                                                                                                    Allan Depo. Ex. 1          & 403  SJ Statute of
  P484   Port Strategy Review - Intermodal                           CSXT0124777     CSXT0124781    Eliasson Depo.             Limitations; 802 - Hearsay

  P485   POV Weekly Metrics                                          N/A             N/A            VIT 30(b)(6) Depo.         602 - Foundation; 802 - Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
                                                                                                    Armbrust Depo. 1           Limitations; 602 - Foundation;
  P486   Projected Line Haul Revenue/Costs Analysis 2010 Budget      CSXT0082069                    J. Booth Depo.             802 - Hearsay
                                                                                                                               401, 402, & 403  SJ Statute of
         Quick Reference of NPBL Switching Tariff 8100-I - Effective                                Allan Depo.                Limitations; 602 - Foundation;
  P487   January 1, 2010                                             CSXT0082068                    J. Booth Depo.             802 - Hearsay

  P488   The Port of Virginia Advantages                             N/A             N/A            VIT 30(b)(6) Depo.         602 - Foundation; 802 - Hearsay

  P489   The Port of Virginia Rail Our Competitive Advantage         VPA001007       VPA001017      VPA 30(b)(6) Depo.         602 - Foundation 802 - Hearsay

                                                                                                                               401, 402, & 403  SJ Statute of
  P490   Train Origin Spreadsheet                                    NPBL004140      NPBL004154     NPBL 30(b)(6)/Moss Depo.   Limitations 602 - Foundation
                                                                                                                               401, 402, & 403  MIL Lost
                                                                                                                               Customers; 602 - Foundation;
  P491   ZIM Rail Request for Quote 2016                             CSXT0050597                    Wright Depo.               802 - Hearsay
  P492   Withdrawn
  P493   Withdrawn
  P494   Withdrawn
  P495   Withdrawn
                                                                                                                               106 - Completeness; 602 -
                                                                                                                               Foundation; 702 - Daubert; 802 -
  P496   Hyundai  3rd NS Offer, Norfolk Southern                  NSR_00005081    NSR_00005082   Expert Materials           Hearsay
  P497   Withdrawn
  P498   Withdrawn
  P499   Withdrawn
  P500   Withdrawn
  P501   Withdrawn
  P502   Withdrawn
  P503   Withdrawn
  P504   Withdrawn
  P505   Withdrawn
         2005, Viscusi, W. Kip et al. Economics of Regulation and                                                              602 - Foundation; 702 -
  P506   Antitrust. Fourth Edition. Cambridge, MA MIT Press          N/A             N/A            Expert Materials           Daubert; 802 - Hearsay
         2007.04.03 Kevin Page, On-Dock Rail Subcommittee
         Report, Virginia Rail Freight Advisory Committee Meeting                                                             602 - Foundation; 702 -
  P507   Report                                                      N/A             N/A            Expert Materials           Daubert; 802 - Hearsay
  P508   Withdrawn
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
         2008.01.14 Norfolk Southern Presentation, Georgia Foreign                                                            Limitations; 602 - Foundation;
  P509   Trade Conference                                              NPBL003024   NPBL003039     Expert Materials           702 - Daubert; 802 - Hearsay
         2008.09 Competition and Monopoly Single-Firm Conduct
         under Section 2 of the Sherman Act Chapter 2, U.S.
         Department of Justice, https //www.justice.gov/atr/competition
         and- monopoly-single-firm-conduct-under-section-2-sherman-                                                            602 - Foundation; 702 -
  P510   act-chapter-2                                                  N/A          N/A            Expert Materials           Daubert; 802 - Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
         2009.06.29 Agreement between American President Lines Ltd.                                                            Limitations; 602 - Foundation;
  P511   and CSX Intermodal, Inc.                                   CSXT0010903      CSXT0010918    Expert Materials           702 - Daubert; 802 - Hearsay
         2009.07.17 Stinson Letter to R. Hood Re Proposed Purchase                                                             602 - Foundation; 702 -
  P512   of Norfolk and Portsmouth Belt Line Property               NPBL007213                      Expert Materials           Daubert; 802 - Hearsay
                                                                                                                               106 - Completeness; 401 or 402 -
                                                                                                                               Relevance; 401, 402, & 403  SJ
         2009.07.24 Intermodal Transportation Services Agreement                                                               Statute of Limitations; 602 -
         between International Container Logistics and CSX Intermodal                                                          Foundation; 702 - Daubert; 802 -
  P513   Inc.                                                         CSXT0010603    CSXT0010620    Expert Materials           Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
         2009.10.23 Norfolk Southern Presentation, Norfolk Southern                                                           Limitations; 602 - Foundation;
  P514   Ports and International Department                         NPBL002611      NPBL002655     Expert Materials           702 - Daubert; 802 - Hearsay
  P515   Withdrawn
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
         2010.02.22 Norfolk Southern Presentation, Norfolk Southern                                NPBL02100-1059             Limitations; 602 - Foundation;
  P516   Ports and International Department                         NPBL003225      NPBL003284     Expert Materials           702 - Daubert 802 - Hearsay
  P517   Withdrawn
         2010.08.19 U.S. Department of Justice and Federal Trade
         Commission, Horizontal Merger Guidelines,
         https //www.ftc.gov/sites/default/files/attachments/merger-                                                           602 - Foundation; 702 -
  P518   review/100819hmg.pdf                                        N/A             N/A            Expert Materials           Daubert; 802 - Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
         2010.10.25 Norfolk Southern Presentation, American                                                                   402, & 403  SJ Statute of
         Association of Port Authorities Marine Terminal Management                                                            Limitations; 602 - Foundation;
  P519   Program                                                   NPBL003081       NPBL003150     Expert Materials           702 - Daubert 802 - Hearsay
                                                                                                                               401 or 402 - Relevance; 401,
                                                                                                                               402, & 403  SJ Statute of
         2011.01.24 Norfolk Southern Presentation, Full Steam                                                                 Limitations; 602 - Foundation;
  P520   Ahead!                                                     NPBL003180      NPBL003224     Expert Materials           702 - Daubert; 802 - Hearsay
  P521   Withdrawn
  P522   Withdrawn
                                                                                                                               106 - Completeness; 401 or 402 -
                                                                                                                               Relevance; 401, 402, & 403  SJ
         2013.03.18 Amendment No. 2 to Agreement for Rail Transport                                                            Statute of Limitations; 602 -
         Services between Maersk Agency U.S.A., Inc. and CSX                                                                   Foundation; 702 - Daubert; 802 -
  P523   Transportation, Inc.                                       CSXT0036069      CSXT0036156    Expert Materials           Hearsay
  P524   Withdrawn
  P525   Withdrawn
  P526   Withdrawn
  P527   Withdrawn
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                                                                                                                          106 - Completeness; 401 or 402 -
                                                                                                                          Relevance; 401, 402, & 403 
                                                                                                                          MIL Reasonable Rate; 403 -
         2015  2020 CWRY  CSXT Container Contract, 2015                                                               Misleading; 602 - Foundation;
  P528   2020                                                         CSXT0151344    CSXT0151344    Expert Materials     702 - Daubert 802 - Hearsay
  P529   Withdrawn
                                                                                                                          401, 402, & 403  MIL Lost
                                                                                                                          Customers; 401, 402, & 403 
                                                                                                                          SJ Statute of Limitations; 602 -
                                                                                                                          Foundation; 702 - Daubert; 802 -
  P530   2015.03.15 Email Chain RE "Norfolk Situation"                 CSXT0036816    CSXT0036820    Expert Materials     Hearsay

                                                                                                                          106 - Completeness; 401 or 402 -
                                                                                                                          Relevance; 401, 402, & 403 
                                                                                                                          MIL Reasonable Rate; 401, 402,
                                                                                                                          & 403  SJ Statute of
                                                                                                                          Limitations; 602 - Foundation;
         2015.11.01 Contract between Commonwealth Railway Rate,                                                           702 - Daubert; 802 - Hearsay;
  P531   Incorporated and CSX Transportation, Inc.                     CSXT0093045    CSXT0093047    Expert Materials     901 - Authentication
                                                                                                                          401, 402, & 403  MIL Lost
                                                                                                                          Customers; 401, 402, & 403 
                                                                                                                          MIL Reasonable Rate; 401, 402,
                                                                                                                          & 403  SJ Statute of
                                                                                                                          Limitations; 602 - Foundation;
  P532   2016.01.06 Email re FW VIT Rail Incentive 2016                NSR_00005438   NSR_00005439   Expert Materials     702 - Daubert; 802 - Hearsay
  P533   Withdrawn
  P534   Withdrawn
  P535   Withdrawn

                                                                                                                          106 - Completeness; 401 or 402 -
         2017.02.01 CSXT Intermodal International Agreement                                                               Relevance; 602 - Foundation;
         between ZIM Integrated Shipping Services Ltd. And CSX                                                            702 - Daubert; 802 - Hearsay;
  P536   Transportation, Inc.                                          CSXT0076276    CSXT0076307    Expert Materials     901 - Authentication
  P537   Withdrawn
  P538   Withdrawn
  P539   Withdrawn
                                                                                                                          602 - Foundation; 702 -
                                                                                                                          Daubert; 802 - Hearsay; 401 or
  P540   2018.03.07 CMA CGM, Norfolk Southern                        NSR_00006130   NSR_00006151   Expert Materials     402 - Relevance
  P541   Withdrawn
  P542   Withdrawn
  P543   Withdrawn
         2018.09.15 Elzinga, Kenneth G., and Vandy M. Howell.
         Geographic Market Definition in the Merger Guidelines A
         Retrospective Analysis, Review of Industrial Organization,                                                      602 - Foundation; 702 -
  P544   53 453475                                                    N/A            N/A            Expert Materials     Daubert 802 - Hearsay
  P545   Withdrawn
  P546   Withdrawn
  P547   Withdrawn
  P548   Withdrawn
  P549   Withdrawn
         2019.05.15 Email Re COSCO Final Docs attaching 5/15/19                                                           106 - Completeness; 602 -
         COSCO Shipping - Delivering Superior Service and transit                     CSXT016126 -   Marvel Depo.         Foundation; 702 - Daubert; 802 -
  P550   comparison                                                    CSXT0165109    Natives        Strongosky Depo. 2   Hearsay
  P551   Withdrawn
  P552   Withdrawn
  P553   Withdrawn
  P554   Withdrawn
  P555   Withdrawn
  P556   Withdrawn
  P557   Withdrawn
  P558   Withdrawn
  P559   Withdrawn
  P560   Withdrawn
  P561   Withdrawn
  P562   Withdrawn
  P563   Withdrawn
         2021.03.25 NS' International Business Group ships from port                                                      602 - Foundation; 702 -
  P564   to door                                                       N/A            N/A            Wright Depo.         Daubert 802 - Hearsay

                                                                                                                          106 - Completeness; 401 or 402 -
                                                                                                                          Relevance; 401, 402, & 403  SJ
                                                                                                                          Statute of Limitations; 602 -
                                                                                                                          Foundation; 702 - Daubert; 802 -
  P565   335 US Rail Appendix B - Rate Overview.xls                    CSXT0109196    CSXT0109196    Expert Materials     Hearsay; 901 - Authentication
  P566   Withdrawn
                                                                                                                          401, 402, & 403  MIL Lost
                                                                                                                          Customers; 401, 402, & 403 
                                                                                                                          SJ Statute of Limitations; 602 -
  P567   Copy of CSX rate request_a.xlsx                               CSXT0114153    CSXT0114153    Expert Materials     Foundation; 802 - Hearsay
                                                                                                                          106 - Completeness; 401, 402,
                                                                                                                          & 403  MIL Lost Customers;
                                                                                                                          401, 402, & 403  MIL
                                                                                                                          Reasonable Rate; 602 -
  P568   CSX Analysis of various switch and line haul rates            CSXT0156200    CSXT0156200    Expert Materials     Foundation; 802 - Hearsay

                                                                                                                          106 - Completeness; 401, 402,
         CSX INTERNAL - ROUND 2 V2 ONE Rail RFP Workbook                                                                  & 403  MIL Lost Customers;
  P569   (CSX).xlsx                                      CSXT0063543                  CSXT0063543    Expert Materials     602 - Foundation; 802 - Hearsay

                                                                                                                          602 - Foundation; 702 -
  P570   CSX International Revenue Moves Data                          CSXT0108768    CSXT0108768    Expert Materials     Daubert; 802 - Hearsay

                                                                                                                          602 - Foundation; 702 -
  P571   CSX Waybill Data                                            N/A              N/A            Expert Materials     Daubert; 802 - Hearsay
         Davis, Peter and Eliana Garces. Quantitative Techniques for
         Competition and Antitrust Analysis. Princeton, NJ Princeton                                                      602 - Foundation; 702 -
  P572   University Press, 2010                                      N/A              N/A            Expert Materials     Daubert; 802 - Hearsay

                                                                                                                          602 - Foundation; 702 -
  P573   Dr. Marvel's workpapers                                       N/A            N/A            Expert Materials     Daubert; 802 - Hearsay
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                               Exhibit B - CSX Amended Exhibit List



         Economists Incorporated, Monopoly Power, Market                                                              602 - Foundation; 702 -
  P574   Definition, and the Cellophane Fallacy                      N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 10 (Regression Results for the Determinants of                                                        602 - Foundation; 702 -
  P575   Probability of CSX Alignment, 1/1/15-9/30/19)                N/A            N/A            Expert Materials   Daubert; 802 - Hearsay

         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -                                                    602 - Foundation; 702 -
  P576   Exhibit 2 (Major Ocean Carrier Characteristics, 2018)        N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 3 (Hampton Roads Rail Container Movements by                                                          602 - Foundation; 702 -
  P577   Terminal, 1/1/18-12/31/18)                                   N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 4 (Major Carriers by Railroad Alignment, 1/1/18-                                                      602 - Foundation; 702 -
  P578   12/31/18)                                                    N/A            N/A            Expert Materials   Daubert; 802 - Hearsay

         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 5 (Proportion of Container Movements Transported by                                                   602 - Foundation; 702 -
  P579   Aligned Railroad by Port for Major Carriers)                N/A             N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 6 (Percentage of Hampton Roads Container                                                              602 - Foundation; 702 -
  P580   Movements at NIT by Carrier, 1/1/18-12/31/18)               N/A             N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -                                                    602 - Foundation; 702 -
  P581   Exhibit 7 (Map of Drayage Route)                            N/A             N/A            Expert Materials   Daubert; 802 - Hearsay
         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 8 (Regression Results for the Dterminants of NS's                                                     602 - Foundation; 702 -
  P582   Revenue and Revenue-Cost Ratio, 1/1/15-9/30/19)             N/A             N/A            Expert Materials   Daubert; 802 - Hearsay

         Expert Report of Howard P. Marvel, Ph.D. (Feb. 25, 2020) -
         Exhibit 9 (Proportion of Container Movements Transported by                                                   602 - Foundation; 702 -
  P583   CSX based on NIT Usage, 1/1/18-12/31/18)                    N/A             N/A            Expert Materials   Daubert; 802 - Hearsay
                                                                                                                       401 or 402 - Relevance; 401,
                                                                                                                       402, & 403  MIL Lost
                                                                                                                       Customers; 401, 402, & 403 
                                                                                                                       SJ Statute of Limitations; 602 -
                                                                                                                       Foundation; 702 - Daubert; 802 -
  P584   Hamburg Sud - West Rail Bid Sheet.xlsx                       CSXT0033174    CSXT0033174    Expert Materials   Hearsay
  P585   Withdrawn
                                                                                                                       401 or 402 - Relevance; 401,
                                                                                                                       402, & 403  SJ Statute of
         Norfolk Southern Presentation to Suzano, Movement of                                                         Limitations; 602 - Foundation;
  P586   Woodpulp Through Ports Served by Norfolk Southern           NPBL002975     NPBL002991     Expert Materials   702 - Daubert; 802 - Hearsay
                                                                                                                       401 or 402 - Relevance; 401,
                                                                                                                       402, & 403  SJ Statute of
                                                                                                                       Limitations; 403 - Cumulative;
         Norfolk Southern Presentation, Norfolk Southern and South                                                    602 - Foundation; 702 -
  P587   Carolina Partnering for Growth at South Carolina s Ports  NPBL001080       NPBL001152     Expert Materials   Daubert; 802 - Hearsay
         November 2017, Abadie, Alberto et al., When Should You
         Adjust Standard Errors for Clustering?, NBER Working                                                         602 - Foundation; 702 -
  P588   Paper Series 24003                                         N/A              N/A            Expert Materials   Daubert; 802 - Hearsay
  P589   Withdrawn
  P590   Withdrawn
                                                                                                                       602 - Foundation; 702 -
  P591   NS Waybill Data                                              N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
                                                                                                                       602 - Foundation; 702 -
  P592   NS Waybill Data                                              NSR_00014476   NSR_00014476   Expert Materials   Daubert; 802 - Hearsay
         Posner, Richard A. Antitrust Law An Economic Perspective
         Second Edition. Chicago, IL The University of Chicago Press,                                                  602 - Foundation; 702 -
  P593   2001                                                         N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 1 (Dr. Wright's Table 1 Adjusted to Account for
         Realistic Mileage Thresholds at Which Trucking Becomes                                                        602 - Foundation; 702 -
  P594   Uncompetitive for Top 10 Destinations, 1/1/09-12/31/20)      N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 11 (CSX Container Movements and VIG Utilization at                                                    602 - Foundation; 702 -
  P595   Hampton Roads by Year, 1/1/09-12/31/20)                      N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 12 (CSX Container Movements through Hampton                                                           602 - Foundation; 702 -
  P596   Roads by Terminal, 1/1/09-12/31/20)                          N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 13 (CSX Container Movement Share through Hampton                                                      602 - Foundation; 702 -
  P597   Roads by Terminal, 1/1/09-12/31/20)                          N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 14 (Regression Results for the Determinants of
         Probability of CSX Alignment, 10/1/09-12/31/20, Standard                                                      602 - Foundation; 702 -
  P598   Errors in Parentheses)                                       N/A            N/A            Expert Materials   Daubert; 802 - Hearsay

         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 2 (Volume and Average Price of CSX Container                                                          602 - Foundation; 702 -
  P599   Movements to Chicago by Origin and Year, 1/1/10-12/31/20) N/A               N/A            Expert Materials   Daubert; 802 - Hearsay

         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 3 (Volume and Average Price of NS Container                                                           602 - Foundation; 702 -
  P600   Movements to Chicago by Origin and Year, 1/1/10-12/31/20) N/A               N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 4 (US East Coast Intermodal Rail Share, Leading East                                                  602 - Foundation; 702 -
  P601   Coast Ports, 1/1/18-12/31/19)                                N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 5 (Maersk Container Movements at Hampton Roads by                                                     602 - Foundation; 702 -
  P602   Railroad, Terminal, and Year, 1/1/19-12/31/20)               N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 6 (NS Container Movements at Hampton Roads by                                                         602 - Foundation; 702 -
  P603   Terminal and Year, 1/1/09-12/31/20)                          N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 7 (Container Movements at PMT by Travel Mode and                                                      602 - Foundation; 702 -
  P604   Year, 1/1/12-12/31/19)                                       N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 8 (Sensitivities to Dr. Wright's Regression Model,                                                    602 - Foundation; 702 -
  P605   1/1/09-12/31/20)                                             N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit 9 (Regression Results for the Determinants of NS's
         Revenue and Revenue-Cost Ratio, 1/1/15-9/30/19, Standard                                                      602 - Foundation; 702 -
  P606   Errors in Parentheses)                                       N/A            N/A            Expert Materials   Daubert; 802 - Hearsay
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                               Exhibit B - CSX Amended Exhibit List



         Reply Report of Howard P. Marvel, Ph.D. (March 5, 2021) -
         Exhibit10 (Containers by Deviation from Mean Revenue or                                                602 - Foundation; 702 -
  P607   Cost in Dr. Wright's Sample 1/1/09-13/31/20)                N/A       N/A         Expert Materials     Daubert 802 - Hearsay

         Rubinfeld, Daniel L. Reference Guide on Multiple Regression.                                           602 - Foundation; 702 -
  P608   Washington DC The National Academies Press 2011               N/A     N/A         Expert Materials     Daubert 802 - Hearsay
  P609   Withdrawn
         Supplemental Report of Howard P. Marvel, Ph.D. (Sept. 23,
         2022) - Exhibit 1 (Regression Results for the Determinants of
         Probability of CSX Alignment, 10/1/19-12/31/21, Standard                                               602 - Foundation; 702 -
  P610   Errors in Parentheses)                                        N/A     N/A         Expert Materials     Daubert; 802 - Hearsay
         Supplemental Report of Howard P. Marvel, Ph.D. (Sept. 23,
         2022) - Exhibit 2 (Estimates of Damages by Year, 10/1/09-                                              602 - Foundation; 702 -
  P611   12/31/21)                                                     N/A     N/A         Expert Materials     Daubert; 802 - Hearsay

         Supplemental Report of Howard P. Marvel, Ph.D. (Sept. 23,
         2022) - Exhibit 3 (Estimates of Damages Arising from                                                   602 - Foundation; 702 -
  P612   Business Lost in Hampton Roads by Year 10/1/09-12/31/21) N/A          N/A         Expert Materials     Daubert 802 - Hearsay
  P613   Withdrawn
                                                                   SDT RES N   SDT RES N                        602 - Foundation; 702 -
  P614   VIT Drayage Data                                          000001      000001      Expert Materials     Daubert; 802 - Hearsay
         Wooldridge, Jeffrey M. Introductory Econometrics A Modern
         Approach. Sixth Edition. Boston, MA Cengage Learning,                                                  602 - Foundation; 702 -
  P615   2016                                                      N/A         N/A         Expert Materials     Daubert 802 - Hearsay
         Wooldridge, Jeffrey. Introductory Econometrics A Modern
         Approach. Fourth Edition. Mason, OH South-Western                                                      602 - Foundation; 702 -
  P616   Cengage Learning                                          N/A         N/A         Expert Materials     Daubert 802 - Hearsay

         2019.11.22 Defendant Norfolk Southern Railway Company's                                                Object on the bases stated in
  P617   Response to Plaintiff's First Set of Interrogatories          N/A     N/A         Discovery Document   document
         2019.11.22 Norfolk and Portsmouth Belt Line Railroad
         Company's Response to CSX Transportation's First Responses
         to the Requests for Admission, Interrogatories, and Requests                                           Object on the bases stated in
  P618   for Production of Documents                                   N/A     N/A         Discovery Document   document; 802 - Hearsay
         2020.02.10 Defendant Cannon Moss Responses and Answers
         to Plaintiff CSX Transportation, Inc. s First Set of Requests
         for Admission, Interrogatories and Requests for Production of                                          Object on the bases stated in
  P619   Documented Interrogatories                                    N/A     N/A         Discovery Document   document; 802 - Hearsay
         2020.02.12 Norfolk and Portsmouth Belt Line Railroad
         Company's Amended First Supplemental Answers and
         Responses to CSXT s First Set of Interrogatories and Requests                                          Object on the bases stated in
  P620   for Production of Documents                                   N/A     N/A         Discovery Document   document 802 - Hearsay

         2018.09.13  NS Petition before Surface Transportation Board
  P621   (STB) re trackage rights dispute Docket FD 36223           N/A      N/A         Doc. 246365          401 402 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P622   2018.10.03 - NPBL Reply, Docket FD 36223                    N/A       N/A         Doc. 246454          Hearsay
                                                                                                                401, 402, 403  Relevance; 802 -
  P623   2018.10.03 - NPBL Motion to Strike, Docket FD 36223         N/A       N/A         Doc. 246455          Hearsay
  P624   2018.10.23 - NS Reply, Docket FD 36223                      N/A       N/A         Doc. 246521          401, 402, 403  Relevance
  P625   2018.10.23 - NS Reply, Docket FD 36223                      N/A       N/A         Doc. 246522          401, 402, 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P626   2018.10.23 - NPBL Reply, Docket FD 36223                      N/A     N/A         Doc. 246526          Hearsay
  P627   2018.10.30 - NS Reply, Docket FD 36223                        N/A     N/A         Doc. 246596          401, 402, 403  Relevance
         2019.03.29 - STB decision instituting a proceeding, Docket FD                                          401, 402, 403  Relevance; 802 -
  P628   36223                                                         N/A     N/A         Doc. 46750           Hearsay
  P629   2019.04.19 - NS Motion, Docket FD 36223                       N/A     N/A         Doc. 247531          401, 402, 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P630   2019.04.18 - NPBL Motion Docket FD 36223                    N/A       N/A         Doc. 247533          Hearsay
  P631   2019.05.08 - NS Reply, Docket FD 36223                      N/A       N/A         Doc. 247697          401, 402, 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P632   2019.05.09 - NPBL Reply, Docket FD 36223                    N/A       N/A         Doc. 247749          Hearsay
         2019.07.25  STB decision holding dispute in abeyance for                                              401, 402, 403  Relevance; 802 -
  P633   EDVA litigation, Docket FD 36223                            N/A       N/A         Doc. 47079           Hearsay
         2019.08.14 - NS Petition for Reconsideration, Docket FD
  P634   36223                                                       N/A       N/A         Doc. 248318          401, 402, 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P635   2019.09.03 - NPBL Reply, Docket FD 36223                    N/A       N/A         Doc. 248423          Hearsay
         2019.12.18 - STB decision denying petition for                                                         401, 402, 403  Relevance; 802 -
  P636   reconsideration, Docket FD 36223                            N/A       N/A         Doc. 47324           Hearsay
         2021.09.23 NPBL Opening Statement to STB, Docket FD                                                    401, 402, 403  Relevance; 802 -
  P637   36522                                                       N/A       N/A         Doc. 303031          Hearsay

  P638   2021.09.23 NS Opening Statement to STB, Docket FD 36522 N/A           N/A         Doc. 303032          401, 402, 403  Relevance
                                                                                                                401, 402, 403  Relevance; 802 -
  P639   2021.10.25 NPBL Reply Brief to STB, Docket FD 36522         N/A       N/A         Doc. 303125          Hearsay
  P640   2021.10.25 NS Reply Brief to STB, Docket FD 36522           N/A       N/A         Doc. 303126          401, 402, 403  Relevance
Ex. No.   Description                               Bates Begin     Bates End      Dep. Exhibit or Alt. Reference   NSR Objections                                    NPBL Additional Objections




                                                                                                                    401 or 402 - Relevance; 401, 402, & 403 – MIL
          2002.09.26 Email Chain Re: NPBL - Rate                                   Luebbers Depo. 2                 Internal Emails; 401, 402, & 403 – not relevant
          Structure Committee Recommendations (NS                                  McClellan Depo. 3                to show conspiracy & unfairly prejudicial; 401,
 P018     Portion)                                  NSR_00306424    NSR_00306425   Luebbers Depo. 3                 402, & 403 – SJ Statute of Limitations

                                                                                   Luebbers Depo. 2
 P021     2006.10.24 Email Re: NPBL Rate Meeting    NSR_00306426    NSR_00306427   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations




                                                                                                                    401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Heller Depo. 1                   402, & 403 – not relevant to show conspiracy &
                                                                                   Luebbers Depo. 1                 unfairly prejudicial; 401, 402, & 403 – SJ     NPBL MIL #1; NS MIL (D.E. 337);
 P027     2009.04.17 Email Chain FW: NPBL           NSR_00027114    NSR_00027115   Luebbers Depo. 3                 Statute of Limitations                         NPBL MIL #5




                                                                                   Heller Depo. 1                   401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Luebbers Depo. 1                 402, & 403 – not relevant to show conspiracy &
          2009.04.24 Email Chain Re: NPBL - Rate                                   NSR 30(b)(6) Hunt                unfairly prejudicial; 401, 402, & 403 – SJ
 P028     Committee CONFIDENTIAL                    NSR_00011118    NSR_00011120   Luebbers Depo. 3                 Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                                    401, 402, & 403 – MIL Diamond Track; 401,
                                                                                                                    402, & 403 – MIL Reasonable Rate; 401, 402,
          2009.04.27 Email Chain Re: NPBL - Rate                                                                    & 403 – SJ Statute of Limitations; 602 -
 P029     Committee CONFIDENTIAL                    NSR_00011108    NSR_00011111   Luebbers Depo. 3                 Foundation; 802 - Hearsay

          2009.06.01 Email Chain Re: CSX vs. NS 2008                               Luebbers Depo. 1
 P032     Port Volumes                               NSR_00027503   NSR_00027506   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations

                                                                                   Luebbers Depo. 1
 P035     2009.06.19 Email Re: CSX and NIT          NSR_00027097                   Luebbers Depo. 3                 401, 402, & 403 – SJ Statute of Limitations
                                                                                                                                                                                                     Case 2:18-cv-00530-MSD-RJK Document 598-2 Filed 01/13/23 Page 24 of 27 PageID# 14884
                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
                                                                                   Luebbers Depo. 1           unfairly prejudicial; 401, 402, & 403 – SJ
P037   2009.06.23 Email Re: NPBL Information      NSR_00084730                     Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Luebbers Depo. 2           402, & 403 – not relevant to show conspiracy &
       2009.07.27 Email Re: MRM Letter to Manion                                   McClellan Depo. 3          unfairly prejudicial; 401, 402, & 403 – SJ
P040   NPBL 24Jul09.doc with attachment          NSR_00305952       NSR_00305954   Luebbers Depo. 3           Statute of Limitations; 602 - Foundation

       2009.07.29 NS Internal Meeting Notes - NPBL
       Rate Committee Meeting with handwritten                                     McClellan Depo. 3          401, 402, & 403 – SJ Statute of Limitations --
P041   notes                                       NSR_00306373     NSR_00306376   Luebbers Depo. 3           602-Foundation




       2009.07.31 Email from Chris Luebbers to Liesl
       McLemore, Gregg Cronk, & Thomas Hibben
       Re: Rate Committee Follow Up with                                           Heller Depo. 1             106 - Completeness; 401, 402, & 403 – MIL
       Attachment 'NPBL Rate Committee Mtg 7-29-                                   Luebbers Depo. 1           Internal Emails; 401, 402, & 403 – not relevant
       09 v4.doc' [NS Internal Meeting Notes Dated                                 NSR 30(b)(6) Hunt          to show conspiracy & unfairly prejudicial; 401,
P042   7/29/2009]                                    NSR_00027070   NSR_00027075   Luebbers Depo. 3           402, & 403 – SJ Statute of Limitations          NPBL MIL #1; NS MIL (D.E. 337)




                                                                                                              401, 402, & 403 – not relevant to show
                                                                                   Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P043   2009.08.03 Email Re: Easy Questions        NSR_00027069                     Luebbers Depo. 3           403 – SJ Statute of Limitations




                                                                                   Coleman Depo.
                                                                                   Luebbers Depo. 1           401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   NPBL 30(b)(6)/Moss Depo.   402, & 403 – not relevant to show conspiracy &
       2009.09.24 NPBL Rate Committee Meeting                                      Stinson Depo.              unfairly prejudicial; 401, 402, & 403 – SJ
P046   Recap for NS Participants only             NSR_00035903      NSR_00035906   Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)

       2010.05.27 Email Re: Please Evaluate                                        C. Booth Depo.
P053   attaching 5/10/20 Operation Plan           NSR_00015155      NSR_00015159   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                                                                                                                               Case 2:18-cv-00530-MSD-RJK Document 598-2 Filed 01/13/23 Page 25 of 27 PageID# 14885
                                                                                   Heller Depo. 1             401, 402, & 403 – MIL Internal Emails; 401,
                                                                                   Stinson Depo.              402, & 403 – not relevant to show conspiracy &
       2010.07.07 Email Chain Re: CSX forecast                                     Summy Depo.                unfairly prejudicial; 401, 402, & 403 – SJ
P054   model                                         NSR_00062929                  Luebbers Depo. 3           Statute of Limitations; 802 - Hearsay          NPBL MIL #1; NS MIL (D.E. 337)
       2010.08.30 Email Chain Re: QM Junction                                      Luebbers Depo. 1
P060   trackage improvements                         NSR_00011094   NSR_00011095   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
       2010.09.21 Email Chain FW: Norfolk, VA -
       Proposed track changes at QM Junction -
       Sewells Point Branch // Request for Dept Cost                               C. Booth Depo.
P064   Involvement (NIT)                             NSR_00001786   NSR_00001792   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                                              401 or 402 - Relevance; 401, 402, & 403 – MIL
                                                                                                              Internal Emails; 401, 402, & 403 – not relevant
                                                                                                              to show conspiracy & unfairly prejudicial; 401,
                                                                                                              402, & 403 – SJ Statute of Limitations; 602 -
P081   2011.11.07 Email Chain Re: NPBL              NSR_00026701    NSR_00026701   Luebbers Depo. 3           Foundation                                      NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                              401, 402, & 403 – not relevant to show
       2015.04.09 Email Chain FW: [External]                                       Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P098   Request for Operating Window                 NPBL024288                     Luebbers Depo. 3           403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
                                                                                   Heller Depo. 1             unfairly prejudicial; 401, 402, & 403 – SJ
       2015.07.09 Email Chain Re: NPBL                                             Luebbers Depo. 1           Statute of Limitations; 602 - Foundation; 802 -
P106   Agreements attaching Norfolk Rail Operations NSR_00047112    NSR_00047114   Luebbers Depo. 3           Hearsay                                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                   Coleman Depo.
                                                                                   NPBL 30(b)(6)/Moss Depo.
       Tariff NPB 8100-H, Issued 3/31/08, Effective                                Stinson Depo. Ex. 7        401, 402, & 403 – SJ Statute of Limitations;
P161   5/1/08                                        NSR_00035907   NSR_00035915   Luebbers Depo. 3           403 - Cumulative
       2002.12.27 T. Hobbs letter to Appropriate
       NPBL Personnel Connecting Railroads
       Industries enclosing Tariff NPB8100-F, Issued                               Luebbers Depo. 2           401, 402, & 403 – SJ Statute of Limitations;
P173   1/1/03, effective 2/1/03                      NSR_00306614   NSR_00306623   Luebbers Depo. 3           403 - Cumulative
                                                                                   Coleman Depo.
       2007.09.17 Email Chain Re: NPBL rate                                        Luebbers Depo. 1
P176   committee 2007                               NSR_00027549                   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                   Luebbers Depo. 1           401, 402, & 403 – not relevant to show
                                                                                   Stinson Depo.              conspiracy & unfairly prejudicial; 401, 402, &
P198   2009.06.29 Email Re: Rate Committee History NSR_00063116                    Luebbers Depo. 3           403 – SJ Statute of Limitations
       2009.07.23 T. Ingram letter to D. Stinson Re:
       Request for Information Regarding NPBL                                      Luebbers Depo. 2           401, 402, & 403 – SJ Statute of Limitations;
P203   Properties with handwritten notes             NSR_00306440   NSR_00306442   Luebbers Depo. 3           802 - Hearsay; 602 - Foundation
                                                                                   Luebbers Depo. 1
P210   2009.08.24 Email Re: Norfolk Volumes         NSR_00027049                   Luebbers Depo. 3           401, 402, & 403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – not relevant to show
                                                                                   Luebbers Depo. 1           conspiracy & unfairly prejudicial; 401, 402, &
P211   2009.08.24 Email Re: Track Chart Questions   NSR_00027052                   Luebbers Depo. 3           403 – SJ Statute of Limitations
                                                                                                              401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                              402, & 403 – not relevant to show conspiracy &
       2009.09.21 Email Chain FW: NPBL Rate                                        Coleman Depo.              unfairly prejudicial; 401, 402, & 403 – SJ
P216   Committee                                    NSR_00183825                   Luebbers Depo. 3           Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                                                                               Case 2:18-cv-00530-MSD-RJK Document 598-2 Filed 01/13/23 Page 26 of 27 PageID# 14886
                                                                                  NPBL006573-75
                                                                                  CSXT0082190-91
       2009.10.23 Email Re: NS Recommendations,                                   Luebbers Depo. 1      401, 402, & 403 – not relevant to show
       with Attachment: 'NPBL Recommendations 10-                                 Coleman Depo.         conspiracy & unfairly prejudicial; 401, 402, &
P231   23-09.doc'                                 NSR_00035548     NSR_00035550   Luebbers Depo. 3      403 – SJ Statute of Limitations
       2010.07.28 Email Chain Fw: BIT Operating
       Plan afforded the NPBL/CSXT = FW: Please                                   Luebbers Depo. 2
P258   Evaluate                                   NSR_00306436     NSR_00306437   Luebbers Depo. 3      401, 402, & 403 – SJ Statute of Limitations
                                                                                  Luebbers Depo. 1      401, 402, & 403 – MIL Internal Emails; 401,
                                                                                  Stinson Depo.         402, & 403 – not relevant to show conspiracy &
       2010.09.03 Email Chain Re: CSX NIT                                         Wheeler Depo.         unfairly prejudicial; 401, 402, & 403 – SJ
P270   Operation Proposal                           NSR_00062844   NSR_00062846   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                                        unfairly prejudicial; 401, 402, & 403 – SJ
P337   2015.03.30 Email Chain Re: CSX- NIT          NSR_00001419   NSR_00001420   Luebbers Depo. 3      Statute of Limitations; 802 - Hearsay          NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                  C. Booth Depo.        unfairly prejudicial; 401, 402, & 403 – SJ
P350   2015.04.02 Email Chain Re: NPBL Recap        NSR_00001402   NSR_00001403   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – not
                                                                                                        relevant to show conspiracy & unfairly
                                                                                                        prejudicial; 401, 402, & 403 – SJ Statute of
P360   2015.05.15 Email Re: Thanks again            NPBL010882     NPBL010882     Luebbers Depo. 3      Limitations; 802 - Hearsay

                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – MIL
                                                                                                        Internal Emails; 401, 402, & 403 – not relevant
                                                                                  Heller Depo. 1        to show conspiracy & unfairly prejudicial; 401,
P363   2015.05.30 Email Re: NPBL Trackage Rights    NSR_00004475                  Luebbers Depo. 3      402, & 403 – SJ Statute of Limitations          NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
       2015.06.26 Email Chain Re: NPBL Trackage                                   Heller Depo. 1        unfairly prejudicial; 401, 402, & 403 – SJ
P369   Rights                                       NSR_00004472   NSR_00004473   Luebbers Depo. 3      Statute of Limitations                          NPBL MIL #1; NS MIL (D.E. 337)
       2016.02.26 Email Re: Squires Port Briefing                                 Luebbers Depo. 1
P382   attaching East Coast Ports Review            NSR_00064063   NSR_00064095   Luebbers Depo. 3      401, 402, & 403 – SJ Statute of Limitations
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
       2016.03.15 Email Chain Fw: NIT Expansion -                                 Luebbers Depo. 1      unfairly prejudicial; 401, 402, & 403 – SJ
P383   Pilot Article 3/15                         NSR_00054868     NSR_00054869   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)
       2016.03.15 Meeting Invitation from Carol                                   Heller Depo. 1        401, 402, & 403 – MIL Internal Emails; 401,
       Sensing to Carol Sensing, Ed Elkins, Chris                                 Luebbers Depo. 1      402, & 403 – not relevant to show conspiracy &
       Luebbers, & Kenneth Joyner Re: Review                                      NSR 30(b)(6) Joyner   unfairly prejudicial; 401, 402, & 403 – SJ
P384   Strategy Regarding NIT Access              NSR_00005173     NSR_00005173   Luebbers Depo. 3      Statute of Limitations                         NPBL MIL #1; NS MIL (D.E. 337)

                                                                                                        401 or 402 - Relevance; 401, 402, & 403 – MIL
       2016.11.30 Confidential, Hampton Roads Port                                Luebbers Depo. 2      Reasonable Rate; 401, 402, & 403 – SJ Statute
P393   / Rail Review                               NSR_00104571    NSR_00104580   Luebbers Depo. 3      of Limitations; 602 - Foundation; 802 - Hearsay
                                                                                                        401, 402, & 403 – MIL Internal Emails; 401,
                                                                                                        402, & 403 – not relevant to show conspiracy &
                                                                                                        unfairly prejudicial; 602 - Foundation; 802 -
P397   2016.12.20 Email Re: NPBL Discussion         NSR_00024527   NSR_00024527   Luebbers Depo. 3      Hearsay                                         NPBL MIL #1; NS MIL (D.E. 337)
                                                                                                                                                                                         Case 2:18-cv-00530-MSD-RJK Document 598-2 Filed 01/13/23 Page 27 of 27 PageID# 14887
